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September 21, 2018                                            Jacob A. Kramer
                                                              Direct: 202/508-6153
                                                              Fax: 202/220-7453
                                                              Jake.Kramer@bclplaw.com




VIA E-MAIL

Mr. Jeffrey Theodore
Steptoe & Johnson LLP
1330 Connecticut Avenue NW
Washington, DC 20036-1795

Re:    Eddystone Rail Company, LLC V. Bridger Logistics, LLC et al., 2:17-cv-00495-RK

Counsel:

It has come to our attention that certain of our clients’ document productions included
inadvertently disclosed documents, listed below, which are subject to the attorney-client privilege
(“Protected Information”). In accordance with the parties’ stipulation pursuant to Fed. R. Evid.
502(d) (entered in this case on July 31, 2017), we hereby request that you promptly return,
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 Begin Bates                      End Bates
 BLFG_EDPA0077481                 BLFG_EDPA0077481
 BLFG_EDPA0077482                 BLFG_EDPA0077554
 BLFG_EDPA0077555                 BLFG_EDPA0077627
 BLFG_EDPA0079158                 BLFG_EDPA0079158
 BLFG_EDPA0079159                 BLFG_EDPA0079232
 BLFG_EDPA0079233                 BLFG_EDPA0079305
 BLFG_EDPA0083411                 BLFG_EDPA0083411
 BLFG_EDPA0083412                 BLFG_EDPA0083418
 BLFG_EDPA0083419                 BLFG_EDPA0083419
 BLFG_EDPA0083420                 BLFG_EDPA0083426
 BLFG_EDPA0129940                 BLFG_EDPA0129940
 BLFG_EDPA0129941                 BLFG_EDPA0130026
 BLFG_EDPA0130027                 BLFG_EDPA0130105
 BLFG_EDPA0131521                 BLFG_EDPA0131521
 BLFG_EDPA0131522                 BLFG_EDPA0131533
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 BLFG_EDPA0131534          BLFG_EDPA0131612
 BLFG_EDPA0131613          BLFG_EDPA0131691
 BLFG_EDPA0152589          BLFG_EDPA0152589
 BLFG_EDPA0152590          BLFG_EDPA0152670
 BLFG_EDPA0152671          BLFG_EDPA0152752
 BLFG_EDPA0186136          BLFG_EDPA0186136
 BLFG_EDPA0186137          BLFG_EDPA0186138
 BLFG_EDPA0319289          BLFG_EDPA0319291
 BLFG_EDPA0319292          BLFG_EDPA0319292
 BLFG_EDPA0320579          BLFG_EDPA0320580
 BLFG_EDPA0320581          BLFG_EDPA0320581
 BLFG_EDPA0320582          BLFG_EDPA0320582
 BLFG_EDPA0320583          BLFG_EDPA0320583
 BLFG_EDPA0320584          BLFG_EDPA0320584
 BLFG_EDPA0320586          BLFG_EDPA0320587
 BLFG_EDPA0320588          BLFG_EDPA0320589
 BLFG_EDPA0320590          BLFG_EDPA0320591
 BLFG_EDPA0320592          BLFG_EDPA0320593
 BLFG_EDPA0320594          BLFG_EDPA0320595
 BLFG_EDPA0320599          BLFG_EDPA0320601
 BLFG_EDPA0321661          BLFG_EDPA0321661
 BLFG_EDPA0321662          BLFG_EDPA0321664
 BLFG_EDPA0326667          BLFG_EDPA0326667
 BLFG_EDPA0326668          BLFG_EDPA0326678
 BLFG_EDPA0326679          BLFG_EDPA0326679
 BLFG_EDPA0326680          BLFG_EDPA0326680
 BLFG_EDPA0326681          BLFG_EDPA0326681
 BLFG_EDPA0326682          BLFG_EDPA0326692
 BLFG_EDPA0326821          BLFG_EDPA0326823
 BLFG_EDPA0326853          BLFG_EDPA0326857
 BLFG_EDPA0326858          BLFG_EDPA0326862
 BLFG_EDPA0327055          BLFG_EDPA0327060
 BLFG_EDPA0327663          BLFG_EDPA0327664
 BLFG_EDPA0327665          BLFG_EDPA0327688
 BLFG_EDPA0396871          BLFG_EDPA0396871
 BLFG_EDPA0396872          BLFG_EDPA0396872
 BLFG_EDPA0398739          BLFG_EDPA0398742
 BLFG_EDPA0398743          BLFG_EDPA0398743
 BLFG_EDPA0398744          BLFG_EDPA0398745
 BLFG_EDPA0398746          BLFG_EDPA0398746
 BLFG_EDPA0398747          BLFG_EDPA0398751
 BLFG_EDPA0398752          BLFG_EDPA0398752
 BLFG_EDPA0398753          BLFG_EDPA0398753
 BLFG_EDPA0398754          BLFG_EDPA0398755
       Case 2:17-cv-00495-JD Document 264-1 Filed 11/05/18 Page 8 of 61



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 BLFG_EDPA0398953          BLFG_EDPA0398957
 BLFG_EDPA0398958          BLFG_EDPA0398958
 BLFG_EDPA0440352          BLFG_EDPA0440353
 BLFG_EDPA0440354          BLFG_EDPA0440360
 BLFG_EDPA0467515          BLFG_EDPA0467517
 BLFG_EDPA0467523          BLFG_EDPA0467525
 BLFG_EDPA0467530          BLFG_EDPA0467533
 BLFG_EDPA0480408          BLFG_EDPA0480409
 BLFG_EDPA0480410          BLFG_EDPA0480412
 BLFG_EDPA0505353          BLFG_EDPA0505353
 BLFG_EDPA0528448          BLFG_EDPA0528448
 BLFG_EDPA0528449          BLFG_EDPA0528449
 BLFG_EDPA0536579          BLFG_EDPA0536581
 BLFG_EDPA0536582          BLFG_EDPA0536584
 BLFG_EDPA0536585          BLFG_EDPA0536587
 BLFG_EDPA0536588          BLFG_EDPA0536591
 BLFG_EDPA0538547          BLFG_EDPA0538550
 BLFG_EDPA0538603          BLFG_EDPA0538607
 BLFG_EDPA0538644          BLFG_EDPA0538648
 BLFG_EDPA0538709          BLFG_EDPA0538714
 BLFG_EDPA0538757          BLFG_EDPA0538762
 BLFG_EDPA0538763          BLFG_EDPA0538763
 BLFG_EDPA0538813          BLFG_EDPA0538819
 BLFG_EDPA0538820          BLFG_EDPA0538828
 BLFG_EDPA0538829          BLFG_EDPA0538839
 BLFG_EDPA0543446          BLFG_EDPA0543447
 BLFG_EDPA0543448          BLFG_EDPA0543448
 BLFG_EDPA0543470          BLFG_EDPA0543471
 BLFG_EDPA0543472          BLFG_EDPA0543472
 BLFG_EDPA0543984          BLFG_EDPA0543984
 BLFG_EDPA0543985          BLFG_EDPA0543986
 BLFG_EDPA0543987          BLFG_EDPA0543987
 BLFG_EDPA0543988          BLFG_EDPA0543989
 BLFG_EDPA0544018          BLFG_EDPA0544019
 BLFG_EDPA0544020          BLFG_EDPA0544021
 BLFG_EDPA0548149          BLFG_EDPA0548153
 BLFG_EDPA0548154          BLFG_EDPA0548158
 BLFG_EDPA0548797          BLFG_EDPA0548800
 BLFG_EDPA0548801          BLFG_EDPA0548805
 BLFG_EDPA0735810          BLFG_EDPA0735818
 BLFG_EDPA0735819          BLFG_EDPA0735819
 BLFG_EDPA0735904          BLFG_EDPA0735912
 BLFG_EDPA1055739          BLFG_EDPA1055740
 BLFG_EDPA1484325          BLFG_EDPA1484325
       Case 2:17-cv-00495-JD Document 264-1 Filed 11/05/18 Page 9 of 61



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 BLFG_EDPA1484326          BLFG_EDPA1484379
 BLFG_EDPA1536411          BLFG_EDPA1536411
 BLFG_EDPA1536412          BLFG_EDPA1536484
 BLFG_EDPA1536485          BLFG_EDPA1536574
 BLFG_EDPA1536575          BLFG_EDPA1536643
 BLFG_EDPA1614006          BLFG_EDPA1614007
 BLFG_EDPA1614008          BLFG_EDPA1614010
 BLFG_EDPA1614011          BLFG_EDPA1614013
 BLFG_EDPA1614055          BLFG_EDPA1614058
 BLFG_EDPA1614059          BLFG_EDPA1614062
 BLFG_EDPA1614063          BLFG_EDPA1614066
 BLFG_EDPA1787922          BLFG_EDPA1787925
 BLFG_EDPA1787926          BLFG_EDPA1787929
 BLFG_EDPA1787930          BLFG_EDPA1787933
 BLFG_EDPA1946711          BLFG_EDPA1946712
 BLFG_EDPA1946713          BLFG_EDPA1946721
 BLFG_EDPA1946722          BLFG_EDPA1946730
 BLFG_EDPA1949146          BLFG_EDPA1949146
 BLFG_EDPA1949147          BLFG_EDPA1949202
 BLFG_EDPA1949305          BLFG_EDPA1949305
 BLFG_EDPA1949306          BLFG_EDPA1949361
 BLFG_EDPA1950049          BLFG_EDPA1950049
 BLFG_EDPA1950050          BLFG_EDPA1950065
 BLFG_EDPA1950066          BLFG_EDPA1950082
 BLFG_EDPA1950083          BLFG_EDPA1950084
 BLFG_EDPA1950604          BLFG_EDPA1950604
 BLFG_EDPA1950605          BLFG_EDPA1950620
 BLFG_EDPA1950621          BLFG_EDPA1950667
 BLFG_EDPA1950668          BLFG_EDPA1950669
 BLFG_EDPA1950670          BLFG_EDPA1950677
 BLFG_EDPA1950678          BLFG_EDPA1950681
 BLFG_EDPA1950682          BLFG_EDPA1950683
 BLFG_EDPA1950684          BLFG_EDPA1950686
 BLFG_EDPA1950687          BLFG_EDPA1950691
 BLFG_EDPA1950692          BLFG_EDPA1950733
 BLFG_EDPA1950734          BLFG_EDPA1950750
 BLFG_EDPA1951450          BLFG_EDPA1951451
 BLFG_EDPA1951452          BLFG_EDPA1951508
 BLFG_EDPA1956561          BLFG_EDPA1956562
 BLFG_EDPA1956563          BLFG_EDPA1956563
 BLFG_EDPA1956564          BLFG_EDPA1956564
 BLFG_EDPA1956565          BLFG_EDPA1956572
 BLFG_EDPA1956579          BLFG_EDPA1956582
 BLFG_EDPA1966040          BLFG_EDPA1966041
      Case 2:17-cv-00495-JD Document 264-1 Filed 11/05/18 Page 10 of 61



Mr. Jeffrey Theodore
September 21, 2018
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 BLFG_EDPA1966042          BLFG_EDPA1966111
 BLFG_EDPA1971563          BLFG_EDPA1971564
 BLFG_EDPA1971565          BLFG_EDPA1971630
 BLFG_EDPA1971631          BLFG_EDPA1971704
 BLFG_EDPA1972630          BLFG_EDPA1972631
 BLFG_EDPA1972632          BLFG_EDPA1972720
 BLFG_EDPA1972721          BLFG_EDPA1972769
 BLFG_EDPA1975502          BLFG_EDPA1975504
 BLFG_EDPA1976297          BLFG_EDPA1976300
 BLFG_EDPA1976346          BLFG_EDPA1976349
 BLFG_EDPA1976383          BLFG_EDPA1976387
 BLFG_EDPA1976396          BLFG_EDPA1976399
 BLFG_EDPA1976718          BLFG_EDPA1976719
 BLFG_EDPA1976720          BLFG_EDPA1976721
 BLFG_EDPA1976722          BLFG_EDPA1976724
 BLFG_EDPA1976725          BLFG_EDPA1976727
 BLFG_EDPA1977954          BLFG_EDPA1977954
 BLFG_EDPA1977955          BLFG_EDPA1978064
 BLFG_EDPA1978065          BLFG_EDPA1978172
 BLFG_EDPA1978173          BLFG_EDPA1978227
 BLFG_EDPA1978228          BLFG_EDPA1978278
 BLFG_EDPA2035261          BLFG_EDPA2035262
 BLFG_EDPA2035263          BLFG_EDPA2035271
 BLFG_EDPA2035397          BLFG_EDPA2035399
 BLFG_EDPA2035400          BLFG_EDPA2035408
 BLFG_EDPA2035455          BLFG_EDPA2035457
 BLFG_EDPA2035458          BLFG_EDPA2035459
 BLFG_EDPA2038128          BLFG_EDPA2038129
 BLFG_EDPA2038131          BLFG_EDPA2038131
 BLFG_EDPA2038132          BLFG_EDPA2038132
 BLFG_EDPA2038133          BLFG_EDPA2038133
 BLFG_EDPA2038137          BLFG_EDPA2038138
 BLFG_EDPA2038139          BLFG_EDPA2038141
 BLFG_EDPA2038355          BLFG_EDPA2038355
 BLFG_EDPA2038356          BLFG_EDPA2038356
 BLFG_EDPA2038397          BLFG_EDPA2038399
 BLFG_EDPA2038494          BLFG_EDPA2038496
 BLFG_EDPA2038497          BLFG_EDPA2038498
 BLFG_EDPA2038499          BLFG_EDPA2038502
 BLFG_EDPA2038523          BLFG_EDPA2038526
 BLFG_EDPA2039818          BLFG_EDPA2039821
 BLFG_EDPA2084672          BLFG_EDPA2084672
 BLFG_EDPA2084673          BLFG_EDPA2084675
 BLFG_EDPA2099504          BLFG_EDPA2099507
      Case 2:17-cv-00495-JD Document 264-1 Filed 11/05/18 Page 11 of 61



Mr. Jeffrey Theodore
September 21, 2018
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 BLFG_EDPA2099508          BLFG_EDPA2099508
 BLFG_EDPA2099509          BLFG_EDPA2099509
 BLFG_EDPA2099510          BLFG_EDPA2099515
 BLFG_EDPA2099516          BLFG_EDPA2099516
 BLFG_EDPA2099517          BLFG_EDPA2099517
 BLFG_EDPA2099518          BLFG_EDPA2099518
 BLFG_EDPA2099519          BLFG_EDPA2099522
 BLFG_EDPA2105997          BLFG_EDPA2105998
 BLFG_EDPA2194081          BLFG_EDPA2194081
 BLFG_EDPA2194082          BLFG_EDPA2194192
 BLFG_EDPA2194503          BLFG_EDPA2194503
 BLFG_EDPA2194504          BLFG_EDPA2194612
 BLFG_EDPA2194613          BLFG_EDPA2194723
 BLFG_EDPA2194747          BLFG_EDPA2194748
 BLFG_EDPA2194910          BLFG_EDPA2194911
 BLFG_EDPA2195605          BLFG_EDPA2195606
 BLFG_EDPA2195829          BLFG_EDPA2195831
 BLFG_EDPA2196060          BLFG_EDPA2196061
 BLFG_EDPA2196224          BLFG_EDPA2196224
 BLFG_EDPA2196225          BLFG_EDPA2196225
 BLFG_EDPA2196226          BLFG_EDPA2196388
 BLFG_EDPA2196389          BLFG_EDPA2196449
 BLFG_EDPA2196455          BLFG_EDPA2196457
 BLFG_EDPA2196501          BLFG_EDPA2196502
 BLFG_EDPA2197624          BLFG_EDPA2197625
 BLFG_EDPA2197952          BLFG_EDPA2197953
 BLFG_EDPA2197962          BLFG_EDPA2197963
 BLFG_EDPA2200336          BLFG_EDPA2200336
 BLFG_EDPA2200337          BLFG_EDPA2200338
 BLFG_EDPA2200465          BLFG_EDPA2200465
 BLFG_EDPA2200466          BLFG_EDPA2200467
 BLFG_EDPA2201470          BLFG_EDPA2201470
 BLFG_EDPA2201471          BLFG_EDPA2201544
 BLFG_EDPA2201545          BLFG_EDPA2201628
 BLFG_EDPA2201660          BLFG_EDPA2201661
 BLFG_EDPA2201662          BLFG_EDPA2201735
 BLFG_EDPA2203235          BLFG_EDPA2203236
 BLFG_EDPA2226585          BLFG_EDPA2226586
 BLFG_EDPA2237315          BLFG_EDPA2237319
 BLFG_EDPA2279913          BLFG_EDPA2279916
 BLFG_EDPA2279928          BLFG_EDPA2279931
 BLFG_EDPA2279932          BLFG_EDPA2279935
 BLFG_EDPA2282309          BLFG_EDPA2282310
 BLFG_EDPA2282311          BLFG_EDPA2282312
       Case 2:17-cv-00495-JD Document 264-1 Filed 11/05/18 Page 12 of 61



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September 21, 2018
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 BLFG-JMX_EDPA0090997              BLFG-JMX_EDPA0090998
 BLFG-JMX_EDPA0091005              BLFG-JMX_EDPA0091006
 BLFG-JMX_EDPA0091008              BLFG-JMX_EDPA0091010
 BLFG-JMX_EDPA0091201              BLFG-JMX_EDPA0091203
 BLFG-JMX_EDPA0091240              BLFG-JMX_EDPA0091243
 BLFG-JMX_EDPA0091254              BLFG-JMX_EDPA0091257
 BLFG-JMX_EDPA0091317              BLFG-JMX_EDPA0091321
 BLFG-JMX_EDPA0091350              BLFG-JMX_EDPA0091350
 BLFG-JMX_EDPA0091389              BLFG-JMX_EDPA0091390
 BLFG-JMX_EDPA0091446              BLFG-JMX_EDPA0091447
 BLFG-JMX_EDPA0091490              BLFG-JMX_EDPA0091490
 BLFG-JMX_EDPA0091928              BLFG-JMX_EDPA0091928
 BLFG-JMX_EDPA0091944              BLFG-JMX_EDPA0091945
 BLFG-JMX_EDPA0091946              BLFG-JMX_EDPA0091947
 BLFG-JMX_EDPA0091949              BLFG-JMX_EDPA0091950
 BLFG-JMX_EDPA0091957              BLFG-JMX_EDPA0091959
 BLFG-JMX_EDPA0091968              BLFG-JMX_EDPA0091970
 BLFG-JMX_EDPA0092059              BLFG-JMX_EDPA0092060
 BLFG-JMX_EDPA0092429              BLFG-JMX_EDPA0092429
 BLFG-JMX_EDPA0092581              BLFG-JMX_EDPA0092581
 BLFG-JMX_EDPA0092620              BLFG-JMX_EDPA0092621
 BLFG-JMX_EDPA0092646              BLFG-JMX_EDPA0092647
 BLFG-JMX_EDPA0092996              BLFG-JMX_EDPA0092996
 BLFG-JMX_EDPA0093752              BLFG-JMX_EDPA0093752


Some of the inadvertently disclosed documents listed above are communications with an attorney
from your firm, Bizunesh “Biz” Scott, who appears also to have served as Bridger LLC’s Deputy
General Counsel and Director for Regulatory and Government Affairs beginning in late 2014. We
have identified a few privileged emails to Ms. Scott using two different email addresses in the same
communication (bscott@steptoe.com and bscott@bridgergroup.com), which of course created
some initial confusion as to the applicability of the privilege. Can you shed any light on Ms. Scott’s
role at Bridger during the relevant period? Was she seconded to Bridger from Steptoe?

Thank you for your prompt attention to this matter.

Sincerely,
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                 EXHIBIT B
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                                       September 28, 2018

Via Electronic Mail
Jeffrey Theodore
Steptoe & Johnson, LLP
1330 Connecticut Avenue NW
Washington, DC 20036-1795

   Re:     Eddystone Rail Company, LLC V. Bridger Logistics, LLC et al., 2:17-cv-00495-RK

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 Family Date          RG_EDPA Bates Range                          RIOS Bates Range
 2/26/2016       RG_EDPA0002888-RG_EDPA0002889
 2/26/2016       RG_EDPA0002890
 2/26/2016       RG_EDPA0002891-RG_EDPA0002892
 2/18/2016       RG_EDPA0056932-RG_EDPA0056934
 9/13/2016       RG_EDPA0060347-RG_EDPA0060366
 4/16/2016       RG_EDPA0069962-RG_EDPA0069964
 6/9/2016        RG_EDPA0097627-RG_EDPA0097628
 6/9/2016        RG_EDPA0097629
 6/9/2016        RG_EDPA0097630
 6/9/2016        RG_EDPA0097631-RG_EDPA0097650
 6/9/2016        RG_EDPA0097651
 6/8/2015        RG_EDPA0109101                               RIOS 003088
 6/10/2015       RG_EDPA0109296-RG_EDPA0109297                RIOS 003080-RIOS 003081
 6/10/2015       RG_EDPA0109298-RG_EDPA0109300                RIOS 005798-RIOS 005800
 6/10/2015       RG_EDPA0109301-RG_EDPA0109303                RIOS 003082-RIOS 003084
 6/10/2015       RG_EDPA0109304-RG_EDPA0109306                RIOS 028678-RIOS 028680
 6/10/2015       RG_EDPA0109307-RG_EDPA0109309                RIOS 028681-RIOS 028683
 6/10/2015       RG_EDPA0109310-RG_EDPA0109313                RIOS 028684-RIOS 028687
     Case 2:17-cv-00495-JD Document 264-1 Filed 11/05/18 Page 15 of 61




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6/25/2015    RG_EDPA0110100                    RIOS 023344
6/26/2015    RG_EDPA0110147-RG_EDPA0110148     RIOS 023352-RIOS 023353
6/26/2015    RG_EDPA0110149-RG_EDPA0110150     RIOS 035850-RIOS 035851
6/27/2015    RG_EDPA0110192-RG_EDPA0110195     RIOS 002216-RIOS 002219
6/27/2015    RG_EDPA0110196-RG_EDPA0110200     RIOS 005266-RIOS 005270
7/6/2015     RG_EDPA0110736-RG_EDPA0110738     RIOS 021198-RIOS 021200
7/6/2015     RG_EDPA0110773-RG_EDPA0110776     RIOS 021203-RIOS 021206
7/6/2015     RG_EDPA0110787-RG_EDPA0110790     RIOS 023374-RIOS 023377
7/6/2015     RG_EDPA0110791-RG_EDPA0110794     RIOS 023382-RIOS 023385
7/6/2015     RG_EDPA0110795-RG_EDPA0110798     RIOS 023395-RIOS 023398
7/6/2015     RG_EDPA0110799-RG_EDPA0110802     RIOS 005389-RIOS 005392
7/6/2015     RG_EDPA0110816-RG_EDPA0110820     RIOS 023407-RIOS 023411
7/6/2015     RG_EDPA0110825-RG_EDPA0110829     RIOS 023412-RIOS 023416
7/22/2015    RG_EDPA0112249                    RIOS 001168
8/30/2015    RG_EDPA0114686-RG_EDPA0114687     RIOS 038734-RIOS 038735
9/1/2015     RG_EDPA0114766                    RIOS 032434
9/12/2015    RG_EDPA0115984                    RIOS 030848
9/12/2015    RG_EDPA0115985-RG_EDPA0115986     RIOS 030849-RIOS 030850
9/12/2015    RG_EDPA0115987-RG_EDPA0115988     RIOS 030851-RIOS 030852
9/15/2015    RG_EDPA0116255                    RIOS 030313
9/15/2015    RG_EDPA0116256                    RIOS 030314
9/15/2015    RG_EDPA0116257-RG_EDPA0116258     RIOS 030315-RIOS 030316
9/15/2015    RG_EDPA0116259-RG_EDPA0116260     RIOS 038142-RIOS 038143
9/15/2015    RG_EDPA0116261-RG_EDPA0116262     RIOS 030317-RIOS 030318
9/18/2015    RG_EDPA0116594-RG_EDPA0116597
10/6/2015    RG_EDPA0118440-RG_EDPA0118441     RIOS 002432-RIOS 002433
10/6/2015    RG_EDPA0118447-RG_EDPA0118448     RIOS 006241-RIOS 006242
10/6/2015    RG_EDPA0118449-RG_EDPA0118451     RIOS 002434-RIOS 002436
10/6/2015    RG_EDPA0118452-RG_EDPA0118454     RIOS 006243-RIOS 006245
10/6/2015    RG_EDPA0118455-RG_EDPA0118457     RIOS 002437-RIOS 002439
10/6/2015    RG_EDPA0118458-RG_EDPA0118461     RIOS 006565-RIOS 006568
10/7/2015    RG_EDPA0118498                    RIOS 022631
10/7/2015    RG_EDPA0118499-RG_EDPA0118501     RIOS 022632-RIOS 022634
10/7/2015    RG_EDPA0118503                    RIOS 022636
10/7/2015    RG_EDPA0118507-RG_EDPA0118508     RIOS 025339-RIOS 025340
10/13/2015   RG_EDPA0119028                    RIOS 025520
10/13/2015   RG_EDPA0119029-RG_EDPA0119030     RIOS 025521-RIOS 025522
10/18/2015   RG_EDPA0119514-RG_EDPA0119518     RIOS 023082-RIOS 023086
10/19/2015   RG_EDPA0119532-RG_EDPA0119538     RIOS 023092-RIOS 023098
10/20/2015   RG_EDPA0120080-RG_EDPA0120081     RIOS 020738-RIOS 020739
10/20/2015   RG_EDPA0120084-RG_EDPA0120085     RIOS 001511-RIOS 001512
10/20/2015   RG_EDPA0120088-RG_EDPA0120090     RIOS 006292-RIOS 006294
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10/20/2015   RG_EDPA0120091-RG_EDPA0120093     RIOS 001513-RIOS 001515
10/20/2015   RG_EDPA0120094-RG_EDPA0120096     RIOS 020742-RIOS 020744
10/20/2015   RG_EDPA0120097-RG_EDPA0120099     RIOS 006295-RIOS 006297
10/20/2015   RG_EDPA0120100-RG_EDPA0120102     RIOS 001516-RIOS 001518
10/20/2015   RG_EDPA0120103-RG_EDPA0120106     RIOS 020745-RIOS 020748
10/20/2015   RG_EDPA0120107-RG_EDPA0120111     RIOS 037570-RIOS 037574
10/20/2015   RG_EDPA0120112-RG_EDPA0120115     RIOS 020749-RIOS 020752
10/20/2015   RG_EDPA0120116-RG_EDPA0120120     RIOS 001519-RIOS 001523
10/24/2015   RG_EDPA0120622
10/28/2015   RG_EDPA0121138-RG_EDPA0121144     RIOS 015101-RIOS 015107
10/28/2015   RG_EDPA0121200-RG_EDPA0121206     RIOS 000291-RIOS 000297
10/28/2015   RG_EDPA0121261-RG_EDPA0121264     RIOS 013263-RIOS 013266
10/28/2015   RG_EDPA0121285-RG_EDPA0121291     RIOS 000298-RIOS 000304
10/28/2015   RG_EDPA0121312-RG_EDPA0121313     RIOS 000316-RIOS 000317
10/28/2015   RG_EDPA0121314-RG_EDPA0121317     RIOS 000661-RIOS 000664
10/28/2015   RG_EDPA0121325-RG_EDPA0121331     RIOS 013298-RIOS 013304
10/28/2015   RG_EDPA0121332-RG_EDPA0121335     RIOS 000322-RIOS 000325
10/30/2015   RG_EDPA0121591-RG_EDPA0121593     RIOS 013903-RIOS 013905
10/30/2015   RG_EDPA0121594-RG_EDPA0121597     RIOS 013906-RIOS 013909
10/30/2015   RG_EDPA0121598-RG_EDPA0121601     RIOS 013365-RIOS 013368
10/30/2015   RG_EDPA0121640-RG_EDPA0121641     RIOS 013391-RIOS 013392
11/3/2015    RG_EDPA0122043-RG_EDPA0122047     RIOS 013656-RIOS 013660
11/3/2015    RG_EDPA0122048-RG_EDPA0122052     RIOS 037326-RIOS 037330
11/3/2015    RG_EDPA0122061                    RIOS 013688
11/3/2015    RG_EDPA0122062-RG_EDPA0122063     RIOS 013689-RIOS 013690
11/4/2015    RG_EDPA0122214-RG_EDPA0122215     RIOS 033575-RIOS 033576
11/4/2015    RG_EDPA0122216-RG_EDPA0122218     RIOS 033577-RIOS 033579
11/5/2015    RG_EDPA0122291-RG_EDPA0122294     RIOS 033541-RIOS 033544
11/12/2015   RG_EDPA0123124                    RIOS 033808
11/12/2015   RG_EDPA0123125                    RIOS 033809
11/12/2015   RG_EDPA0123126                    RIOS 033810
11/12/2015   RG_EDPA0123127-RG_EDPA0123128     RIOS 033811-RIOS 033812
11/12/2015   RG_EDPA0123129-RG_EDPA0123130     RIOS 033813-RIOS 033814
11/12/2015   RG_EDPA0123131-RG_EDPA0123133     RIOS 031779-RIOS 031781
11/12/2015   RG_EDPA0123137                    RIOS 031785
11/12/2015   RG_EDPA0123138-RG_EDPA0123139     RIOS 031786-RIOS 031787
11/13/2015   RG_EDPA0123356-RG_EDPA0123357     RIOS 031934-RIOS 031935
11/13/2015   RG_EDPA0123358                    RIOS 031936
11/13/2015   RG_EDPA0123359-RG_EDPA0123360     RIOS 031937-RIOS 031938
11/13/2015   RG_EDPA0123361                    RIOS 031939
11/13/2015   RG_EDPA0123362-RG_EDPA0123363     RIOS 033925-RIOS 033926
11/13/2015   RG_EDPA0123364                    RIOS 033927
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11/16/2015   RG_EDPA0123580-RG_EDPA0123582     RIOS 036960-RIOS 036962
11/19/2015   RG_EDPA0123910-RG_EDPA0123911     RIOS 029706-RIOS 029707
12/1/2015    RG_EDPA0124972-RG_EDPA0124973     RIOS 023944-RIOS 023945
12/1/2015    RG_EDPA0124974                    RIOS 023946
12/1/2015    RG_EDPA0124975-RG_EDPA0124979     RIOS 023947-RIOS 023951
12/3/2015    RG_EDPA0125167-RG_EDPA0125168     RIOS 021940-RIOS 021941
12/3/2015    RG_EDPA0125174-RG_EDPA0125175     RIOS 021947-RIOS 021948
12/3/2015    RG_EDPA0125176                    RIOS 021951
12/3/2015    RG_EDPA0125177                    RIOS 021949
12/3/2015    RG_EDPA0125178                    RIOS 021950
12/11/2015   RG_EDPA0125792                    RIOS 037051
12/11/2015   RG_EDPA0125797-RG_EDPA0125798     RIOS 017299-RIOS 017300
12/11/2015   RG_EDPA0125799-RG_EDPA0125800     RIOS 017301-RIOS 017302
12/11/2015   RG_EDPA0125801-RG_EDPA0125805     RIOS 017303-RIOS 017307
12/11/2015   RG_EDPA0125806-RG_EDPA0125807     RIOS 019436-RIOS 019437
12/11/2015   RG_EDPA0125808-RG_EDPA0125810     RIOS 037052-RIOS 037054
12/11/2015   RG_EDPA0125811-RG_EDPA0125813     RIOS 017308-RIOS 017310
12/11/2015   RG_EDPA0125814-RG_EDPA0125816     RIOS 017311-RIOS 017313
12/11/2015   RG_EDPA0125817-RG_EDPA0125820     RIOS 037055-RIOS 037058
12/14/2015   RG_EDPA0125886-RG_EDPA0125888     RIOS 037059-RIOS 037061
12/15/2015   RG_EDPA0125936-RG_EDPA0125939     RIOS 037094-RIOS 037097
12/15/2015   RG_EDPA0125940-RG_EDPA0125944     RIOS 017179-RIOS 017183
12/15/2015   RG_EDPA0125945-RG_EDPA0125949     RIOS 017184-RIOS 017188
12/15/2015   RG_EDPA0125950-RG_EDPA0125954     RIOS 036546-RIOS 036550
12/15/2015   RG_EDPA0125955-RG_EDPA0125960     RIOS 019425-RIOS 019430
12/15/2015   RG_EDPA0125965-RG_EDPA0125968     RIOS 017193-RIOS 017196
12/15/2015   RG_EDPA0125974-RG_EDPA0125978     RIOS 017197-RIOS 017201
12/15/2015   RG_EDPA0125979-RG_EDPA0125983     RIOS 036561-RIOS 036565
12/15/2015   RG_EDPA0125984-RG_EDPA0125989     RIOS 017202-RIOS 017207
12/15/2015   RG_EDPA0125990-RG_EDPA0125994     RIOS 017208-RIOS 017212
12/15/2015   RG_EDPA0125995-RG_EDPA0126001     RIOS 037098-RIOS 037104
12/16/2015   RG_EDPA0126026-RG_EDPA0126030     RIOS 036569-RIOS 036573
12/16/2015   RG_EDPA0126031-RG_EDPA0126036     RIOS 017135-RIOS 017140
12/17/2015   RG_EDPA0126071-RG_EDPA0126076     RIOS 017143-RIOS 017148
12/17/2015   RG_EDPA0126077                    RIOS 017149
12/17/2015   RG_EDPA0126084-RG_EDPA0126089     RIOS 036627-RIOS 036632
12/18/2015   RG_EDPA0126260                    RIOS 017343
12/18/2015   RG_EDPA0126270                    RIOS 036574
12/18/2015   RG_EDPA0126271                    RIOS 017353
12/19/2015   RG_EDPA0126272                    RIOS 036575
12/19/2015   RG_EDPA0126273-RG_EDPA0126274     RIOS 036576-RIOS 036577
12/19/2015   RG_EDPA0126275-RG_EDPA0126276     RIOS 036578-RIOS 036579
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12/19/2015   RG_EDPA0126277                    RIOS 036582
12/19/2015   RG_EDPA0126278-RG_EDPA0126279     RIOS 036580-RIOS 036581
12/21/2015   RG_EDPA0126286-RG_EDPA0126287     RIOS 036585-RIOS 036586
12/21/2015   RG_EDPA0126289-RG_EDPA0126291     RIOS 017363-RIOS 017365
12/29/2015   RG_EDPA0126570                    RIOS 014521
12/29/2015   RG_EDPA0126571-RG_EDPA0126574     RIOS 014522-RIOS 014525
12/29/2015   RG_EDPA0126575-RG_EDPA0126576     RIOS 036616-RIOS 036617
12/29/2015   RG_EDPA0126577-RG_EDPA0126578     RIOS 014526-RIOS 014527
1/7/2016     RG_EDPA0126787-RG_EDPA0126788     RIOS 033116-RIOS 033117
1/7/2016     RG_EDPA0126789-RG_EDPA0126793     RIOS 033118-RIOS 033122
1/7/2016     RG_EDPA0126882                    RIOS 033227
1/7/2016     RG_EDPA0126883                    RIOS 037147
1/7/2016     RG_EDPA0126884-RG_EDPA0126885     RIOS 033228-RIOS 033229
1/9/2016     RG_EDPA0126939                    RIOS 033264
1/9/2016     RG_EDPA0126957                    RIOS 033281
1/11/2016    RG_EDPA0126998-RG_EDPA0126999     RIOS 036461-RIOS 036462
1/11/2016    RG_EDPA0127000-RG_EDPA0127003     RIOS 036463-RIOS 036466
1/11/2016    RG_EDPA0127004                    RIOS 036467
1/11/2016    RG_EDPA0127005                    RIOS 036472
1/11/2016    RG_EDPA0127006-RG_EDPA0127009     RIOS 036468-RIOS 036471
1/12/2016    RG_EDPA0127045-RG_EDPA0127047     RIOS 031231-RIOS 031233
1/12/2016    RG_EDPA0127048-RG_EDPA0127051     RIOS 031234-RIOS 031237
1/20/2016    RG_EDPA0127405-RG_EDPA0127408     RIOS 036662-RIOS 036665
2/12/2016    RG_EDPA0128875-RG_EDPA0128878     RIOS 021598-RIOS 021601
2/12/2016    RG_EDPA0128879                    RIOS 021602
2/12/2016    RG_EDPA0128880                    RIOS 021609
2/12/2016    RG_EDPA0128881-RG_EDPA0128886     RIOS 021603-RIOS 021608
2/12/2016    RG_EDPA0128918-RG_EDPA0128919     RIOS 021641-RIOS 021642
2/15/2016    RG_EDPA0128979-RG_EDPA0128980     RIOS 021515-RIOS 021516
2/15/2016    RG_EDPA0128981-RG_EDPA0128983     RIOS 019115-RIOS 019117
2/15/2016    RG_EDPA0128984-RG_EDPA0128986     RIOS 021517-RIOS 021519
2/18/2016    RG_EDPA0129165-RG_EDPA0129167     RIOS 021542-RIOS 021544
2/18/2016    RG_EDPA0129168                    RIOS 021546
2/18/2016    RG_EDPA0129169                    RIOS 021545
2/18/2016    RG_EDPA0129172-RG_EDPA0129175     RIOS 021547-RIOS 021550
2/18/2016    RG_EDPA0129176-RG_EDPA0129179     RIOS 036478-RIOS 036481
2/18/2016    RG_EDPA0129187-RG_EDPA0129189     RIOS 019159-RIOS 019161
2/18/2016    RG_EDPA0129190                    RIOS 019162
2/18/2016    RG_EDPA0129191                    RIOS 019163
2/19/2016    RG_EDPA0129192-RG_EDPA0129193     RIOS 021562-RIOS 021563
2/19/2016    RG_EDPA0129194-RG_EDPA0129195     RIOS 021564-RIOS 021565
2/19/2016    RG_EDPA0129196                    RIOS 021566
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2/19/2016    RG_EDPA0129197                    RIOS 021567
2/19/2016    RG_EDPA0129198-RG_EDPA0129199     RIOS 021568-RIOS 021569
2/20/2016    RG_EDPA0129254-RG_EDPA0129255     RIOS 019185-RIOS 019186
2/22/2016    RG_EDPA0129409-RG_EDPA0129410     RIOS 016793-RIOS 016794
2/22/2016    RG_EDPA0129411                    RIOS 016803
2/22/2016    RG_EDPA0129412-RG_EDPA0129419     RIOS 016795-RIOS 016802
2/22/2016    RG_EDPA0129420-RG_EDPA0129422     RIOS 035712-RIOS 035714
2/22/2016    RG_EDPA0129423                    RIOS 035715
2/22/2016    RG_EDPA0129424-RG_EDPA0129426     RIOS 016804-RIOS 016806
2/22/2016    RG_EDPA0129427-RG_EDPA0129430     RIOS 016809-RIOS 016812
2/22/2016    RG_EDPA0129431                    RIOS 016813
2/22/2016    RG_EDPA0129432                    RIOS 016816
2/22/2016    RG_EDPA0129433-RG_EDPA0129434     RIOS 016814-RIOS 016815
2/22/2016    RG_EDPA0129435-RG_EDPA0129438     RIOS 019187-RIOS 019190
2/22/2016    RG_EDPA0129439-RG_EDPA0129443     RIOS 019191-RIOS 019195
2/22/2016    RG_EDPA0129444                    RIOS 019196
2/22/2016    RG_EDPA0129445-RG_EDPA0129449     RIOS 019197-RIOS 019201
2/22/2016    RG_EDPA0129450                    RIOS 019203
2/22/2016    RG_EDPA0129451                    RIOS 019202
2/22/2016    RG_EDPA0129452-RG_EDPA0129456     RIOS 019315-RIOS 019319
2/22/2016    RG_EDPA0129457                    RIOS 019320
2/22/2016    RG_EDPA0129458-RG_EDPA0129463     RIOS 019321-RIOS 019326
2/22/2016    RG_EDPA0129464                    RIOS 019327
2/22/2016    RG_EDPA0129465-RG_EDPA0129470     RIOS 019330-RIOS 019335
2/22/2016    RG_EDPA0129471                    RIOS 019336
2/22/2016    RG_EDPA0129472-RG_EDPA0129476     RIOS 019337-RIOS 019341
2/22/2016    RG_EDPA0129477                    RIOS 019342
2/22/2016    RG_EDPA0129478                    RIOS 019350
2/22/2016    RG_EDPA0129479                    RIOS 019343
2/22/2016    RG_EDPA0129480-RG_EDPA0129481     RIOS 019344-RIOS 019345
2/22/2016    RG_EDPA0129482                    RIOS 019348
2/22/2016    RG_EDPA0129483                    RIOS 019358
2/22/2016    RG_EDPA0129484-RG_EDPA0129485     RIOS 019353-RIOS 019354
2/22/2016    RG_EDPA0129486                    RIOS 019349
2/22/2016    RG_EDPA0129487-RG_EDPA0129488     RIOS 019356-RIOS 019357
2/22/2016    RG_EDPA0129489-RG_EDPA0129490     RIOS 019351-RIOS 019352
2/22/2016    RG_EDPA0129491-RG_EDPA0129492     RIOS 019346-RIOS 019347
2/22/2016    RG_EDPA0129493                    RIOS 019355
2/22/2016    RG_EDPA0129494                    RIOS 019359
2/22/2016    RG_EDPA0129495-RG_EDPA0129499     RIOS 019360-RIOS 019364
2/22/2016    RG_EDPA0129500                    RIOS 019365
2/26/2016    RG_EDPA0129861-RG_EDPA0129862
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3/1/2016     RG_EDPA0129972-RG_EDPA0129975
3/1/2016     RG_EDPA0129985                    RIOS 016939
3/1/2016     RG_EDPA0129986-RG_EDPA0129991     RIOS 016941-RIOS 016946
3/1/2016     RG_EDPA0129992                    RIOS 016940
3/16/2016    RG_EDPA0130874-RG_EDPA0130877     RIOS 022180-RIOS 022183
3/23/2016    RG_EDPA0131315-RG_EDPA0131316     RIOS 006416-RIOS 006417
3/28/2016    RG_EDPA0131695
4/2/2016     RG_EDPA0132139-RG_EDPA0132140     RIOS 019555-RIOS 019556
4/11/2016    RG_EDPA0132633                    RIOS 006155
4/11/2016    RG_EDPA0132634-RG_EDPA0132635     RIOS 017638-RIOS 017639
4/11/2016    RG_EDPA0132636-RG_EDPA0132637     RIOS 017640-RIOS 017641
4/14/2016    RG_EDPA0133141                    RIOS 001003
4/14/2016    RG_EDPA0133221                    RIOS 037185
4/14/2016    RG_EDPA0133222-RG_EDPA0133224     RIOS 000491-RIOS 000493
4/14/2016    RG_EDPA0133241-RG_EDPA0133244     RIOS 017761-RIOS 017764
4/14/2016    RG_EDPA0133263-RG_EDPA0133266     RIOS 038016-RIOS 038019
4/14/2016    RG_EDPA0133267-RG_EDPA0133270     RIOS 038020-RIOS 038023
4/14/2016    RG_EDPA0133271                    RIOS 001010
4/14/2016    RG_EDPA0133272                    RIOS 017560
4/14/2016    RG_EDPA0133273-RG_EDPA0133274     RIOS 001011-RIOS 001012
4/14/2016    RG_EDPA0133275-RG_EDPA0133276     RIOS 006450-RIOS 006451
4/14/2016    RG_EDPA0133277-RG_EDPA0133278     RIOS 006452-RIOS 006453
4/14/2016    RG_EDPA0133279                    RIOS 006454
4/15/2016    RG_EDPA0133280-RG_EDPA0133281     RIOS 001013-RIOS 001014
4/15/2016    RG_EDPA0133282-RG_EDPA0133284     RIOS 006455-RIOS 006457
4/15/2016    RG_EDPA0133285-RG_EDPA0133287     RIOS 001015-RIOS 001017
4/15/2016    RG_EDPA0133295-RG_EDPA0133298     RIOS 001020-RIOS 001023
4/15/2016    RG_EDPA0133304                    RIOS 003214
4/15/2016    RG_EDPA0133309-RG_EDPA0133313     RIOS 006460-RIOS 006464
4/16/2016    RG_EDPA0133336-RG_EDPA0133337     RIOS 006465-RIOS 006466
4/16/2016    RG_EDPA0133338                    RIOS 006468
4/16/2016    RG_EDPA0133339                    RIOS 006467
4/16/2016    RG_EDPA0133340-RG_EDPA0133342     RIOS 001028-RIOS 001030
4/20/2016    RG_EDPA0133593-RG_EDPA0133594     RIOS 006592-RIOS 006593
4/20/2016    RG_EDPA0133595                    RIOS 006595
4/20/2016    RG_EDPA0133596                    RIOS 006594
4/25/2016    RG_EDPA0133996                    RIOS 006673
4/25/2016    RG_EDPA0133997                    RIOS 000600
4/26/2016    RG_EDPA0134033-RG_EDPA0134037     RIOS 038475-RIOS 038479
4/26/2016    RG_EDPA0134038-RG_EDPA0134042     RIOS 014761-RIOS 014765
4/26/2016    RG_EDPA0134043-RG_EDPA0134048     RIOS 038480-RIOS 038485
4/27/2016    RG_EDPA0134097-RG_EDPA0134098     RIOS 006815-RIOS 006816
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4/27/2016    RG_EDPA0134099                    RIOS 006817
4/27/2016    RG_EDPA0134100                    RIOS 006818
4/27/2016    RG_EDPA0134101-RG_EDPA0134102     RIOS 006819-RIOS 006820
4/27/2016    RG_EDPA0134103-RG_EDPA0134104     RIOS 000594-RIOS 000595
5/2/2016     RG_EDPA0134331                    RIOS 000629
5/2/2016     RG_EDPA0134332-RG_EDPA0134333     RIOS 006727-RIOS 006728
5/2/2016     RG_EDPA0134334-RG_EDPA0134335     RIOS 000630-RIOS 000631
5/2/2016     RG_EDPA0134336-RG_EDPA0134337     RIOS 006729-RIOS 006730
5/2/2016     RG_EDPA0134340-RG_EDPA0134342     RIOS 006731-RIOS 006733
5/2/2016     RG_EDPA0134343-RG_EDPA0134347     RIOS 014992-RIOS 014996
5/6/2016     RG_EDPA0134982                    RIOS 006752
5/7/2016     RG_EDPA0134985-RG_EDPA0134986     RIOS 000232-RIOS 000233
5/7/2016     RG_EDPA0134989-RG_EDPA0134990     RIOS 006755-RIOS 006756
5/7/2016     RG_EDPA0134991-RG_EDPA0134993     RIOS 012592-RIOS 012594
5/7/2016     RG_EDPA0134994-RG_EDPA0134996     RIOS 012595-RIOS 012597
5/7/2016     RG_EDPA0134997-RG_EDPA0134999     RIOS 012598-RIOS 012600
5/7/2016     RG_EDPA0135000-RG_EDPA0135002     RIOS 012601-RIOS 012603
5/7/2016     RG_EDPA0135003-RG_EDPA0135006     RIOS 012604-RIOS 012607
5/7/2016     RG_EDPA0135007-RG_EDPA0135011     RIOS 038034-RIOS 038038
5/7/2016     RG_EDPA0135012-RG_EDPA0135015     RIOS 012608-RIOS 012611
5/7/2016     RG_EDPA0135038-RG_EDPA0135039     RIOS 006474-RIOS 006475
5/7/2016     RG_EDPA0135040                    RIOS 006479
5/7/2016     RG_EDPA0135041                    RIOS 006476
5/7/2016     RG_EDPA0135042                    RIOS 006478
5/7/2016     RG_EDPA0135043                    RIOS 006477
5/7/2016     RG_EDPA0135044-RG_EDPA0135048     RIOS 006764-RIOS 006768
5/7/2016     RG_EDPA0135049-RG_EDPA0135054     RIOS 013173-RIOS 013178
5/7/2016     RG_EDPA0135055-RG_EDPA0135060     RIOS 038502-RIOS 038507
5/9/2016     RG_EDPA0135105-RG_EDPA0135106     RIOS 038508-RIOS 038509
5/9/2016     RG_EDPA0135107-RG_EDPA0135124     RIOS 038510-RIOS 038527
5/9/2016     RG_EDPA0135140-RG_EDPA0135145     RIOS 038979-RIOS 038984
5/9/2016     RG_EDPA0135146-RG_EDPA0135150     RIOS 013141-RIOS 013145
5/9/2016     RG_EDPA0135151-RG_EDPA0135156     RIOS 000258-RIOS 000263
5/9/2016     RG_EDPA0135157-RG_EDPA0135164     RIOS 000264-RIOS 000271
5/9/2016     RG_EDPA0135165-RG_EDPA0135173     RIOS 007057-RIOS 007065
5/9/2016     RG_EDPA0135174-RG_EDPA0135181     RIOS 000272-RIOS 000279
5/9/2016     RG_EDPA0135182-RG_EDPA0135188     RIOS 013146-RIOS 013152
5/9/2016     RG_EDPA0135191-RG_EDPA0135193     RIOS 007066-RIOS 007068
5/9/2016     RG_EDPA0135194-RG_EDPA0135202     RIOS 013155-RIOS 013163
5/9/2016     RG_EDPA0135203-RG_EDPA0135205     RIOS 000280-RIOS 000282
5/9/2016     RG_EDPA0135206-RG_EDPA0135214     RIOS 013164-RIOS 013172
5/9/2016     RG_EDPA0135215-RG_EDPA0135217     RIOS 007069-RIOS 007071
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5/10/2016    RG_EDPA0135219-RG_EDPA0135221     RIOS 000245-RIOS 000247
5/10/2016    RG_EDPA0135222-RG_EDPA0135225     RIOS 007072-RIOS 007075
5/10/2016    RG_EDPA0135226-RG_EDPA0135229     RIOS 000248-RIOS 000251
5/10/2016    RG_EDPA0135230-RG_EDPA0135237     RIOS 012723-RIOS 012730
5/10/2016    RG_EDPA0135656-RG_EDPA0135658     RIOS 007080-RIOS 007082
5/10/2016    RG_EDPA0135659-RG_EDPA0135660     RIOS 007083-RIOS 007084
5/11/2016    RG_EDPA0135661-RG_EDPA0135663     RIOS 033330-RIOS 033332
5/11/2016    RG_EDPA0135664-RG_EDPA0135666     RIOS 003774-RIOS 003776
5/12/2016    RG_EDPA0135914                    RIOS 003898
5/12/2016    RG_EDPA0135915                    RIOS 006832
5/12/2016    RG_EDPA0135916                    RIOS 006836
5/12/2016    RG_EDPA0135917                    RIOS 006834
5/12/2016    RG_EDPA0135918                    RIOS 006833
5/12/2016    RG_EDPA0135919                    RIOS 006835
5/12/2016    RG_EDPA0135920-RG_EDPA0135921     RIOS 003899-RIOS 003900
5/16/2016    RG_EDPA0136120                    RIOS 007051
5/16/2016    RG_EDPA0136121                    RIOS 033491
6/7/2016     RG_EDPA0136984-RG_EDPA0136985     RIOS 027209-RIOS 027210
6/7/2016     RG_EDPA0136988-RG_EDPA0136989     RIOS 035005-RIOS 035006
6/7/2016     RG_EDPA0136990-RG_EDPA0136992     RIOS 027211-RIOS 027213
6/8/2016     RG_EDPA0137061-RG_EDPA0137063
6/9/2016     RG_EDPA0137276                    RIOS 027574
6/9/2016     RG_EDPA0137277                    RIOS 027597
6/9/2016     RG_EDPA0137278-RG_EDPA0137297     RIOS 027577-RIOS 027596
6/9/2016     RG_EDPA0137298                    RIOS 027576
6/9/2016     RG_EDPA0137299                    RIOS 027575
6/9/2016     RG_EDPA0137302-RG_EDPA0137303     RIOS 004683-RIOS 004684
6/9/2016     RG_EDPA0137304-RG_EDPA0137323     RIOS 004687-RIOS 004706
6/9/2016     RG_EDPA0137324                    RIOS 004707
6/9/2016     RG_EDPA0137325                    RIOS 004686
6/9/2016     RG_EDPA0137326                    RIOS 004685
7/12/2016    RG_EDPA0139360                    RIOS 000803
7/12/2016    RG_EDPA0139361-RG_EDPA0139362     RIOS 016002-RIOS 016003
7/12/2016    RG_EDPA0139367-RG_EDPA0139368     RIOS 016008-RIOS 016009
7/18/2016    RG_EDPA0139528                    RIOS 039350
7/18/2016    RG_EDPA0139529                    RIOS 039353
7/18/2016    RG_EDPA0139530                    RIOS 039354
7/18/2016    RG_EDPA0139531                    RIOS 039358
7/18/2016    RG_EDPA0139532                    RIOS 039351
7/18/2016    RG_EDPA0139533                    RIOS 039355
7/18/2016    RG_EDPA0139534                    RIOS 039356
7/18/2016    RG_EDPA0139535                    RIOS 039352
     Case 2:17-cv-00495-JD Document 264-1 Filed 11/05/18 Page 23 of 61




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7/18/2016    RG_EDPA0139536                    RIOS 039361
7/18/2016    RG_EDPA0139537-RG_EDPA0139538     RIOS 039359-RIOS 039360
7/18/2016    RG_EDPA0139539                    RIOS 039357
8/27/2016    RG_EDPA0142187-RG_EDPA0142190     RIOS 003727-RIOS 003730
9/6/2016     RG_EDPA0142650-RG_EDPA0142651     RIOS 004931-RIOS 004932
9/6/2016     RG_EDPA0142657-RG_EDPA0142658     RIOS 004933-RIOS 004934
9/6/2016     RG_EDPA0142685-RG_EDPA0142686     RIOS 004433-RIOS 004434
9/6/2016     RG_EDPA0142688-RG_EDPA0142689     RIOS 004784-RIOS 004785
9/6/2016     RG_EDPA0142737-RG_EDPA0142738     RIOS 004790-RIOS 004791
9/6/2016     RG_EDPA0142739-RG_EDPA0142740     RIOS 004436-RIOS 004437
9/26/2016    RG_EDPA0144013-RG_EDPA0144014
9/26/2016    RG_EDPA0144015-RG_EDPA0144017
9/27/2016    RG_EDPA0144065-RG_EDPA0144067     RIOS 005143-RIOS 005145
9/27/2016    RG_EDPA0144078-RG_EDPA0144080     RIOS 000078-RIOS 000080
9/27/2016    RG_EDPA0144081-RG_EDPA0144084     RIOS 000081-RIOS 000084
9/27/2016    RG_EDPA0144103-RG_EDPA0144105
9/29/2016    RG_EDPA0144215-RG_EDPA0144216     RIOS 005147-RIOS 005148
9/29/2016    RG_EDPA0144217-RG_EDPA0144218     RIOS 000092-RIOS 000093
9/30/2016    RG_EDPA0144324-RG_EDPA0144326     RIOS 000494-RIOS 000496
9/30/2016    RG_EDPA0144327-RG_EDPA0144329     RIOS 005151-RIOS 005153
9/30/2016    RG_EDPA0144330-RG_EDPA0144333     RIOS 000497-RIOS 000500
9/30/2016    RG_EDPA0144334-RG_EDPA0144339     RIOS 000501-RIOS 000506
9/30/2016    RG_EDPA0144340-RG_EDPA0144343     RIOS 005154-RIOS 005157
9/30/2016    RG_EDPA0144346-RG_EDPA0144350     RIOS 000509-RIOS 000513
9/30/2016    RG_EDPA0144351-RG_EDPA0144355     RIOS 000514-RIOS 000518
9/30/2016    RG_EDPA0144356-RG_EDPA0144362     RIOS 005158-RIOS 005164
9/30/2016    RG_EDPA0144363-RG_EDPA0144368     RIOS 000519-RIOS 000524
9/30/2016    RG_EDPA0144369                    RIOS 000525
9/30/2016    RG_EDPA0144370-RG_EDPA0144376     RIOS 005165-RIOS 005171
9/30/2016    RG_EDPA0144377                    RIOS 005173
9/30/2016    RG_EDPA0144378                    RIOS 005172
9/30/2016    RG_EDPA0144380-RG_EDPA0144387     RIOS 000526-RIOS 000533
9/30/2016    RG_EDPA0144394-RG_EDPA0144402     RIOS 005176-RIOS 005184
9/30/2016    RG_EDPA0144427-RG_EDPA0144431
9/30/2016    RG_EDPA0144433-RG_EDPA0144438
9/30/2016    RG_EDPA0144443-RG_EDPA0144449
10/6/2016    RG_EDPA0144519                    RIOS 007123
10/7/2016    RG_EDPA0144567-RG_EDPA0144569     RIOS 007128-RIOS 007130
10/7/2016    RG_EDPA0144572-RG_EDPA0144573
10/7/2016    RG_EDPA0144589-RG_EDPA0144590
10/10/2016   RG_EDPA0144616                    RIOS 004272
10/10/2016   RG_EDPA0144617                    RIOS 004296
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 10/10/2016     RG_EDPA0144618                        RIOS 004399
 10/10/2016     RG_EDPA0144619-RG_EDPA0144720         RIOS 004297-RIOS 004398
 10/10/2016     RG_EDPA0144721-RG_EDPA0144743         RIOS 004273-RIOS 004295
 10/12/2016     RG_EDPA0144752-RG_EDPA0144753         RIOS 004261-RIOS 004262
 10/12/2016     RG_EDPA0144754                        RIOS 004265
 10/12/2016     RG_EDPA0144755-RG_EDPA0144756         RIOS 004263-RIOS 004264
 10/12/2016     RG_EDPA0144757-RG_EDPA0144758
 10/14/2016     RG_EDPA0144778-RG_EDPA0144780
 7/12/2018      RG_EDPA0195954-RG_EDPA0195956
 7/12/2018      RG_EDPA0206633-RG_EDPA0206635
 12/31/9999     RG_EDPA0214475-RG_EDPA0214481         RIOS 013179-RIOS 013185
 12/31/9999     RG_EDPA0214537-RG_EDPA0214540         RIOS 013596-RIOS 013599
 12/31/9999     RG_EDPA0214541-RG_EDPA0214542         RIOS 013691-RIOS 013692
 12/31/9999     RG_EDPA0215142-RG_EDPA0215143         RIOS 024127-RIOS 024128
 12/31/9999     RG_EDPA0215352-RG_EDPA0215353         RIOS 029110-RIOS 029111
 12/31/9999     RG_EDPA0215354                        RIOS 029114
 12/31/9999     RG_EDPA0215355-RG_EDPA0215356         RIOS 029112-RIOS 029113
 12/31/9999     RG_EDPA0215602-RG_EDPA0215603         RIOS 035571-RIOS 035572
 12/31/9999     RG_EDPA0215604-RG_EDPA0215605         RIOS 035700-RIOS 035701
 12/31/9999     RG_EDPA0215621-RG_EDPA0215623         RIOS 036482-RIOS 036484
 12/31/9999     RG_EDPA0215627-RG_EDPA0215631         RIOS 036556-RIOS 036560
 12/31/9999     RG_EDPA0215705-RG_EDPA0215706         RIOS 039015-RIOS 039016


Thank you for your prompt attention to this matter.



                                                          Sincerely,




                                                         Christian A. Orozco
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                EXHIBIT C
                Case 2:17-cv-00495-JD Document 264-1 Filed 11/05/18 Page 26 of 61



From:                             Theodore, Jeffrey <jtheodore@steptoe.com>
Sent:                             Thursday, October 04, 2018 1:35 PM
To:                               Kramer, Jake; Jon Kelley; Julie Negovan; Sloniewsky, Andrew;
                                  hockeimerh@ballardspahr.com; grugant@ballardspahr.com; Agusti, Fil; Petts, Nick;
                                  Arad-Neeman, Daniele; pbogdasarian@stradley.com; Scarborough, Lawrence; Landon,
                                  Jana (JLandon@STRADLEY.COM); Kent Krabill; Adrian Garcia; Ewelina Johnson; Christian
                                  Orozco; Greg Brassfield
Cc:                               Eddystone Team; Richard L. Scheff (RLScheff@ArmstrongTeasdale.com);
                                  mwitsch@armstrongteasdale.com
Subject:                          RE: Eddystone v. Ferrellgas -- Clawback of Privileged Documents


Jake,

If we’re wrong about what’s on your privilege log, can you please point us to where/how we can find the document
identifiers/bates numbers for each entry as well as the explanations of why each document is privileged?

As to your question, we disagree with both the factual and legal premise, and we are not going to provide you with
details of our work effort on this case. In any event, we are entitled to submit some or all of the purportedly clawed back
documents for in camera review.

Jeff




From: Kramer, Jake [mailto:jake.kramer@bclplaw.com]
Sent: Wednesday, October 03, 2018 7:04 AM
To: Theodore, Jeffrey; Jon Kelley; Julie Negovan; Sloniewsky, Andrew; hockeimerh@ballardspahr.com;
grugant@ballardspahr.com; Agusti, Fil; Petts, Nick; Arad-Neeman, Daniele; pbogdasarian@stradley.com; Scarborough,
Lawrence; Landon, Jana (JLandon@STRADLEY.COM); Kent Krabill; Adrian Garcia; Ewelina Johnson; Christian Orozco;
Greg Brassfield
Cc: Eddystone Team; Richard L. Scheff (RLScheff@ArmstrongTeasdale.com); mwitsch@armstrongteasdale.com
Subject: RE: Eddystone v. Ferrellgas -- Clawback of Privileged Documents




Jeff:

Suffice it to say, we disagree with virtually everything in your email below and remain interested in receiving
confirmation that you and your team did not go review these inadvertently produced privileged documents after
receiving our clawback notice. Could you please provide a direct answer to that question?

If you and Lynn Pinker are available, we are available to discuss privilege issues in a meet and confer on
Friday. In the meantime, we will provide more information about the documents about which you inquired in
your initial email.

Thanks,
Jake

                                                             1
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                         JACOB A. KRAMER
                         Partner
                         BRYAN CAVE LEIGHTON PAISNER LLP - Washington, D.C. USA
                         jacob.kramer@bclplaw.com
                         T: +1 202 508 6153 M: +1 202 550 8547


From: Theodore, Jeffrey [mailto:jtheodore@steptoe.com]
Sent: Wednesday, October 03, 2018 4:03 AM
To: Kramer, Jake; Jon Kelley; Julie Negovan; Sloniewsky, Andrew; hockeimerh@ballardspahr.com;
grugant@ballardspahr.com; Agusti, Fil; Petts, Nick; Arad-Neeman, Daniele; pbogdasarian@stradley.com; Scarborough,
Lawrence; Landon, Jana (JLandon@STRADLEY.COM); Kent Krabill; Adrian Garcia; Ewelina Johnson; Christian Orozco;
Greg Brassfield
Cc: Eddystone Team; Richard L. Scheff (RLScheff@ArmstrongTeasdale.com); mwitsch@armstrongteasdale.com
Subject: RE: Eddystone v. Ferrellgas -- Clawback of Privileged Documents

Jake,

Your suggestion that we should have gleaned the basis of your claims of privilege from your privilege log is problematic
for three reasons. First, our stipulation provides that any clawback “notice shall include a statement of the basis for the
Producing Party's contention that the information is privileged or protected,” rather than putting the onus on us to go
matching clawed back documents to your privilege log. Second, it was impossible for us to know that the clawed back
documents were on your privilege log, much less which entries they might correspond to, since your privilege log does
not contain any document ID identifiers for any of the entries. Third, the descriptions in your privilege log do not provide
a basis to support any claim that a document is privileged. They simply state “attorney-client privilege” with no
explanation whatsoever of the grounds for claiming that a document is covered by the privilege. As a result, even with
the correlation table that you provided in your email of this afternoon, there is still no statement as to the basis of your
contention that any of the information is privileged.

Despite the facial inadequacy of your clawback notice, we are working to sequester the documents in a prompt manner,
and we have no intention of using the material while this remains an issue. That said, the Parties’ stipulation requires
you to provide an adequate explanation of the documents and the basis for the claim of privilege. It also expressly
preserves our right to challenge your claim of privilege and to submit the documents to the Court for that purpose.

Before we do that, we think it appropriate to meet and confer regarding some of the claims in the hopes of resolving
them without court intervention. Since both parties have already indicated a desire to meet and confer about a larger
range of privilege issues, we think it makes sense to address this in that context rather than to handle privilege issues
piecemeal. Since Ferrellgas may own any privilege applicable to documents that Rios and Gamboa are seeking to claw
back, we believe that we should include them in the discussion as well. We are available to meet and confer on privilege
issues this week at your convenience.

Thanks,

Jeff




From: Kramer, Jake [mailto:jake.kramer@bclplaw.com]
Sent: Tuesday, October 02, 2018 2:36 PM
To: Theodore, Jeffrey; Jon Kelley; Julie Negovan; Sloniewsky, Andrew; hockeimerh@ballardspahr.com;
grugant@ballardspahr.com; Agusti, Fil; Petts, Nick; Arad-Neeman, Daniele; pbogdasarian@stradley.com; Scarborough,

                                                              2
               Case 2:17-cv-00495-JD Document 264-1 Filed 11/05/18 Page 28 of 61
Lawrence; Landon, Jana (JLandon@STRADLEY.COM); Kent Krabill; Adrian Garcia; Ewelina Johnson; Christian Orozco;
Greg Brassfield
Cc: Eddystone Team; Richard L. Scheff (RLScheff@ArmstrongTeasdale.com); mwitsch@armstrongteasdale.com
Subject: RE: Eddystone v. Ferrellgas -- Clawback of Privileged Documents




Jeff:

Attached is the chart referenced below. Please respond to our request for confirmation that these documents
were removed from your system without further review.

Thanks,
Jake


                        JACOB A. KRAMER
                        Partner
                        BRYAN CAVE LEIGHTON PAISNER LLP - Washington, D.C. USA
                        jacob.kramer@bclplaw.com
                        T: +1 202 508 6153 M: +1 202 550 8547


From: Kramer, Jake
Sent: Monday, October 01, 2018 6:17 PM
To: Theodore, Jeffrey; Jon Kelley; Julie Negovan; Sloniewsky, Andrew; hockeimerh@ballardspahr.com;
grugant@ballardspahr.com; Agusti, Fil; Petts, Nick; Arad-Neeman, Daniele; pbogdasarian@stradley.com; Scarborough,
Lawrence; Landon, Jana (JLandon@STRADLEY.COM); Kent Krabill; Adrian Garcia; Ewelina Johnson; Christian Orozco;
Greg Brassfield
Cc: Eddystone Team; Richard L. Scheff (RLScheff@ArmstrongTeasdale.com); mwitsch@armstrongteasdale.com
Subject: RE: Eddystone v. Ferrellgas -- Clawback of Privileged Documents

Jeff:

As an initial matter, our letter was not a clawback “request.” You are required by Fed. R. Evid. 502(b) and by
stipulation (as well as by applicable rules of professional conduct) to promptly return, sequester, or destroy
inadvertently produced privileged documents, without conducting any further review of such
documents. Please confirm that you did so after receiving our letter.

The privilege log you received last week includes all of the documents listed in the letter and states the basis
for our assertions of privilege. In addition, more than half of the documents you asked about have been
reproduced with redactions to protect privileged information. For your convenience and for the limited purpose
of identifying clawed back documents on our privilege log, we can provide you with a separate table linking
each clawed back Bates number to the privilege log row number (and to the new Bates numbers for those
reproduced with redactions). If you continue to have questions after reviewing our privilege log, we will
address them.

Thanks,
Jake

                        JACOB A. KRAMER
                        Partner
                        BRYAN CAVE LEIGHTON PAISNER LLP - Washington, D.C. USA
                        jacob.kramer@bclplaw.com
                        T: +1 202 508 6153 M: +1 202 550 8547


From: Theodore, Jeffrey [mailto:jtheodore@steptoe.com]
Sent: Friday, September 28, 2018 4:13 PM
                                                             3
                Case 2:17-cv-00495-JD Document 264-1 Filed 11/05/18 Page 29 of 61
To: Kramer, Jake; Jon Kelley; Julie Negovan; Sloniewsky, Andrew; hockeimerh@ballardspahr.com;
grugant@ballardspahr.com; Agusti, Fil; Petts, Nick; Arad-Neeman, Daniele; pbogdasarian@stradley.com; Scarborough,
Lawrence; Landon, Jana (JLandon@STRADLEY.COM); Kent Krabill; Adrian Garcia; Ewelina Johnson; Christian Orozco;
Greg Brassfield
Cc: Eddystone Team; Richard L. Scheff (RLScheff@ArmstrongTeasdale.com); mwitsch@armstrongteasdale.com
Subject: RE: Eddystone v. Ferrellgas -- Clawback of Privileged Documents

Jake,

We have reviewed your clawback request, which does not “include a statement of the basis for the Producing Party's
contention that the information is privileged or protected” as required by our 502(d) stipulation.

As a result, we have specific questions about some of the privilege claims. For example, many of the documents appear
to relate to a post-BL acquisition dispute between Bridger LLC and Ferrellgas and are documents as to which, if
privileged, Bridger LLC (now Jamex LLC) would own the privilege. That they are in FGP’s possession should waive any
privilege, and it is unclear that they would be privileged in the first place. Examples include: BLFG_EDPA2035455;
BLFG_EDPA2035458; BLFG_EDPA2038128; BLFG_EDPA2038131-32; BLFG_EDPA2038355; BLFG_EDPA2038356;
BLFG_EDPA2038397; BLFG_EDPA2038494; BLFG_EDPA2038531; BLFG_EDPA2039818; BLFG_EDPA2282309;
BLFG_EDPA2282311.

Several other documents do not appear on their face to be privileged. Examples include BLFG_EDPA1787922;
BLFG_EDPA1787926; BLFG_EDPA1787930; BLFG_EDPA1614006; BLFG_EDPA1614008; BLFG_EDPA1614011;
BLFG_EDPA1614055; BLFG_EDPA1614063; BLFG_EDPA2279913; BLFG_EDPA2279928; BLFG_EDPA1976346;
BLFG_EDPA2200336-37; BLFG_EDPA2200465-67; BLFG_EDPA2226585; BLFG_EDPA2237315.

Please let us know the basis on which you contend the materials you seek to claw back are privileged.

Thanks,

Jeff




From: Kramer, Jake [mailto:jake.kramer@bclplaw.com]
Sent: Friday, September 21, 2018 9:22 AM
To: Theodore, Jeffrey; Jon Kelley; Julie Negovan; Sloniewsky, Andrew; hockeimerh@ballardspahr.com;
grugant@ballardspahr.com; Agusti, Fil; Petts, Nick; Arad-Neeman, Daniele; pbogdasarian@stradley.com; Scarborough,
Lawrence; Landon, Jana (JLandon@STRADLEY.COM); Kent Krabill; Adrian Garcia; Ewelina Johnson; Christian Orozco;
Greg Brassfield
Cc: Eddystone Team; Richard L. Scheff (RLScheff@ArmstrongTeasdale.com); mwitsch@armstrongteasdale.com
Subject: Eddystone v. Ferrellgas -- Clawback of Privileged Documents




Jeff:

Please review the attached letter clawing back some inadvertently produced documents.


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Thanks,
Jake

                                   JACOB A. KRAMER
                                   Partner
                                   BRYAN CAVE LEIGHTON PAISNER LLP - Washington, D.C. USA
                                   jacob.kramer@bclplaw.com
                                   T: +1 202 508 6153 M: +1 202 550 8547




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and how to exercise them), see our updated Privacy Notice at www.bclplaw.com.




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                EXHIBIT D
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From:                              Jeremy Fielding <jfielding@lynnllp.com>
Sent:                              Wednesday, October 03, 2018 9:26 AM
To:                                Theodore, Jeffrey
Cc:                                Christian Orozco; Jon Kelley; Agusti, Fil; Petts, Nick; hockeimerh@ballardspahr.com;
                                   grugant@ballardspahr.com; Sloniewsky, Andrew; Kramer, Jake; Hartley, Sarah; Ewelina
                                   Johnson; Kirkeby, Lisa; Kent Krabill; Witsch, Michael (MWitsch@mmwr.com); Scheff,
                                   Richard (rscheff@mmwr.com); Ragsdale Olszeski, Ali; Scarborough, Lawrence; Walsh,
                                   Brian; Natalie Stallbohm; Greg Brassfield; Davis, Tim
Subject:                           Re: Eddystone v. Bridger et al.; Rios and Gamboa Supplemental Production


Jeff:

We have done so in our letter. But we will do so again: the documents identified in our letter involve communications
between FGP employees and lawyers for FGP in which those lawyers are providing legal advice or being requested that
they provide legal advice.

Please confirm pursuant to the federal rules and our stipulation that you have deleted all copies of the clawed-back
documents.

Regards,

Jeremy

Sent from my iPad

On Oct 3, 2018, at 3:04 AM, Theodore, Jeffrey <jtheodore@steptoe.com> wrote:

         Christian,

         Please provide us “a statement of the basis for the Producing Party's contention that the information is
         privileged or protected” as required by our 502(d) stipulation.

         Thanks,

         Jeff




         From: Christian Orozco [mailto:corozco@lynnllp.com]
         Sent: Friday, September 28, 2018 11:53 AM
         To: Jon Kelley; Theodore, Jeffrey; Agusti, Fil; Petts, Nick; hockeimerh@ballardspahr.com;
         grugant@ballardspahr.com; Sloniewsky, Andrew
         Cc: Kramer, Jake; Hartley, Sarah; Ewelina Johnson; Kirkeby, Lisa; Kent Krabill; Jeremy Fielding; Witsch,
         Michael (MWitsch@mmwr.com); Scheff, Richard (rscheff@mmwr.com); Ragsdale Olszeski, Ali;

                                                             1
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Scarborough, Lawrence; Walsh, Brian; Natalie Stallbohm; Greg Brassfield; Davis, Tim
Subject: RE: Eddystone v. Bridger et al.; Rios and Gamboa Supplemental Production

Jeff:

Please review the attached letter clawing back some inadvertently produced documents.

Best,
Christian

From: Christian Orozco
Sent: Friday, August 24, 2018 1:08 PM
To: Jon Kelley <jkelley@lynnllp.com>; Theodore, Jeffrey <jtheodore@steptoe.com>; Filiberto Agusti
(fagusti@steptoe.com) <fagusti@steptoe.com>; Petts, Nick <npetts@Steptoe.com>;
hockeimerh@ballardspahr.com; grugant@ballardspahr.com; ASloniewsky@steptoe.com
Cc: Kramer, Jake <jake.kramer@bclplaw.com>; Hartley, Sarah <sarah.hartley@bclplaw.com>; Ewelina
Johnson <ejohnson@lynnllp.com>; Kirkeby, Lisa <lisa.kirkeby@bclplaw.com>; Kent Krabill
<kkrabill@lynnllp.com>; Jeremy Fielding <jfielding@lynnllp.com>; Witsch, Michael
(MWitsch@mmwr.com) <MWitsch@mmwr.com>; Scheff, Richard (rscheff@mmwr.com)
<rscheff@mmwr.com>; Ragsdale Olszeski, Ali <ali.olszeski@bclplaw.com>; Scarborough, Lawrence
<lgscarborough@bclplaw.com>; Walsh, Brian <brian.walsh@bclplaw.com>; Natalie Stallbohm
<nstallbohm@lynnllp.com>; Greg Brassfield <gbrassfield@lynnllp.com>; Davis, Tim
<tim.davis@bclplaw.com>
Subject: RE: Eddystone v. Bridger et al.; Rios and Gamboa Supplemental Production

Counsel:

Please find attached Julio Rios and Jeremy Gamboa’s Privilege Log.

Best,
Christian

From: Christian Orozco
Sent: Monday, August 13, 2018 9:38 PM
To: Jon Kelley <jkelley@lynnllp.com>; Theodore, Jeffrey <jtheodore@steptoe.com>; Filiberto Agusti
(fagusti@steptoe.com) <fagusti@steptoe.com>; Petts, Nick <npetts@Steptoe.com>;
hockeimerh@ballardspahr.com; grugant@ballardspahr.com; ASloniewsky@steptoe.com
Cc: Kramer, Jake <jake.kramer@bclplaw.com>; Hartley, Sarah <sarah.hartley@bclplaw.com>; Ewelina
Johnson <ejohnson@lynnllp.com>; Kirkeby, Lisa <lisa.kirkeby@bclplaw.com>; Kent Krabill
<kkrabill@lynnllp.com>; Jeremy Fielding <jfielding@lynnllp.com>; Witsch, Michael
(MWitsch@mmwr.com) <MWitsch@mmwr.com>; Scheff, Richard (rscheff@mmwr.com)
<rscheff@mmwr.com>; Ragsdale Olszeski, Ali <ali.olszeski@bclplaw.com>; Scarborough, Lawrence
<lgscarborough@bclplaw.com>; Walsh, Brian <brian.walsh@bclplaw.com>; Natalie Stallbohm
<nstallbohm@lynnllp.com>; Greg Brassfield <gbrassfield@lynnllp.com>; Davis, Tim
<tim.davis@bclplaw.com>
Subject: Re: Eddystone v. Bridger et al.; Rios and Gamboa Supplemental Production

Counsel,

Below is a link to Rios and Gamboa’s supplemental production, stamped RG_EDPA0215963-
RG_EDPA0216675.

                                                  2
        Case 2:17-cv-00495-JD Document 264-1 Filed 11/05/18 Page 34 of 61
LINK:
https://dallaspinnacle.brickftp.com/f/3f6b1cac560350ef


Please let me know if you have any trouble accessing these files.

Best,
Christian



From: Christian Orozco <corozco@lynnllp.com>
Date: Monday, July 23, 2018 at 9:58 AM
To: Jon Kelley <jkelley@lynnllp.com>, "Theodore, Jeffrey" <jtheodore@steptoe.com>, "Filiberto
Agusti (fagusti@steptoe.com)" <fagusti@steptoe.com>, "Petts, Nick" <npetts@Steptoe.com>,
"hockeimerh@ballardspahr.com" <hockeimerh@ballardspahr.com>,
"grugant@ballardspahr.com" <grugant@ballardspahr.com>, "ASloniewsky@steptoe.com"
<ASloniewsky@steptoe.com>
Cc: "Kramer, Jake" <jake.kramer@bclplaw.com>, "Hartley, Sarah"
<sarah.hartley@bclplaw.com>, Ewelina Johnson <ejohnson@lynnllp.com>, "Kirkeby, Lisa"
<lisa.kirkeby@bclplaw.com>, Kent Krabill <kkrabill@lynnllp.com>, Jeremy Fielding
<jfielding@lynnllp.com>, "Witsch, Michael (MWitsch@mmwr.com)" <MWitsch@mmwr.com>,
"Scheff, Richard (rscheff@mmwr.com)" <rscheff@mmwr.com>, "Ragsdale Olszeski, Ali"
<ali.olszeski@bclplaw.com>, "Scarborough, Lawrence" <lgscarborough@bclplaw.com>, "Walsh,
Brian" <brian.walsh@bclplaw.com>, Natalie Stallbohm <nstallbohm@lynnllp.com>, Greg
Brassfield <gbrassfield@lynnllp.com>, "Davis, Tim" <tim.davis@bclplaw.com>
Subject: RE: Eddystone v. Bridger et al.; Rios and Gamboa Supplemental Production

Counsel,

Below is a link to Rios and Gamboa’s supplemental production, stamped RG_EDPA0108388 -
RG_EDPA0215962.

LINK:
https://dallaspinnacle.brickftp.com/f/eb6f9ba5b74fc2d4


Note that these are being produced pursuant to the requests propounded in Eddystone’s Second Set of
RFPs regarding the arbitration dispute between Rios and Gamboa, on the one hand, and any Ferrellgas
Entity that employed them, on the other hand. As such, and pursuant to the Court’s Protective Order
(ECF No. 63), these documents are also labeled as “CONFIDENTIAL.”

Please let me know if you have any trouble accessing these files.

Best,
Christian


From: Jonathan Kelley
Sent: Monday, July 02, 2018 8:55 PM

                                                    3
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To: Theodore, Jeffrey <jtheodore@steptoe.com>; Filiberto Agusti (fagusti@steptoe.com)
<fagusti@steptoe.com>; Petts, Nick <npetts@Steptoe.com>; hockeimerh@ballardspahr.com;
grugant@ballardspahr.com; ASloniewsky@steptoe.com
Cc: Kramer, Jake <jake.kramer@bclplaw.com>; Hartley, Sarah <sarah.hartley@bclplaw.com>; Ewelina
Johnson <ejohnson@lynnllp.com>; Kirkeby, Lisa <lisa.kirkeby@bclplaw.com>; Kent Krabill
<kkrabill@lynnllp.com>; Jeremy Fielding <jfielding@lynnllp.com>; Witsch, Michael
(MWitsch@mmwr.com) <MWitsch@mmwr.com>; Scheff, Richard (rscheff@mmwr.com)
<rscheff@mmwr.com>; Ragsdale Olszeski, Ali <ali.olszeski@bclplaw.com>; Scarborough, Lawrence
<lgscarborough@bclplaw.com>; Walsh, Brian <brian.walsh@bclplaw.com>; Natalie Stallbohm
<nstallbohm@lynnllp.com>; Greg Brassfield <gbrassfield@lynnllp.com>; Christian Orozco
<corozco@lynnllp.com>; Davis, Tim <tim.davis@bclplaw.com>
Subject: RE: Eddystone v. Bridger et al.; Rios and Gamboa Supplemental Production

Counsel,

Below is a link to Rios and Gamboa’s supplemental production, stamped RG_EDPA0098131-
RG_EDPA0108387.

LINK:
https://dallaspinnacle.brickftp.com/f/b720651cea776b1e

Note that these are being produced pursuant to the requests propounded in Eddystone’s Third Set of
RFPs, and complete Rios and Gamboa’s production of documents responsive to these requests.

Please let me know if you have any trouble accessing these files.

Thanks,
Jon



From: Christian Orozco
Sent: Tuesday, November 7, 2017 11:02 AM
To: Christina Taylor <ctaylor@lynnllp.com>; grugant@ballardspahr.com; Agusti, Fil
<FAgusti@steptoe.com>; Work, Tim <twork@steptoe.com>; Petts, Nick <npetts@Steptoe.com>;
Theodore, Jeffrey <jtheodore@steptoe.com>; Sorkin, Joseph L. <jsorkin@AkinGump.com>; Zensky, David
<dzensky@AkinGump.com>; Porter, Katherine <kporter@akingump.com>; Dailey, Jeffery
<JDailey@AKINGUMP.com>; Gardner, Carly <cgardner@akingump.com>; jnegovan@griesinglaw.com;
hockeimerh@ballardspahr.com; Eno, Kelly <keno@akingump.com>; Sloniewsky, Andrew
<ASloniewsky@steptoe.com>; Susan Wiebel <SWiebel@lynnllp.com>
Cc: Jonathan Kelley <jkelley@lynnllp.com>; Jeremy Fielding <jfielding@lynnllp.com>; Kent Krabill
<kkrabill@lynnllp.com>
Subject: RE: Eddystone v. Bridger et al.; Rios and Gamboa Supplemental Production

Counsel,

Below is a link to Defendants Rios and Gamboa’s supplemental production, stamped RG_EDPA0020239 -
RG_EDPA0024459.

LINK:
https://dallaspinnacle.brickftp.com/f/d7b02fda68d1ed30



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Best,
Christian


From: Christian Orozco
Sent: Monday, November 06, 2017 10:31 AM
To: Christina Taylor <ctaylor@lynnllp.com>; grugant@ballardspahr.com; Agusti, Fil
<FAgusti@steptoe.com>; Work, Tim <twork@steptoe.com>; Petts, Nick <npetts@Steptoe.com>;
Theodore, Jeffrey <jtheodore@steptoe.com>; Sorkin, Joseph L. <jsorkin@AkinGump.com>; Zensky, David
<dzensky@AkinGump.com>; Porter, Katherine <kporter@akingump.com>; Dailey, Jeffery
<JDailey@AKINGUMP.com>; Gardner, Carly <cgardner@akingump.com>; jnegovan@griesinglaw.com;
hockeimerh@ballardspahr.com; Eno, Kelly <keno@akingump.com>; Sloniewsky, Andrew
<ASloniewsky@steptoe.com>; Susan Wiebel <SWiebel@lynnllp.com>
Cc: Jonathan Kelley <jkelley@lynnllp.com>; Jeremy Fielding <jfielding@lynnllp.com>; Kent Krabill
<kkrabill@lynnllp.com>
Subject: RE: Eddystone v. Bridger et al.; Rios and Gamboa Supplemental Production

Counsel,

Below is a link to Defendants Rios and Gamboa’s supplemental production, stamped RG_EDPA0011221 -
RG_EDPA0020238.

LINK:
https://dallaspinnacle.brickftp.com/f/9d3afff39681d8dc

Best,
Christian

From: Christina Taylor
Sent: Tuesday, October 31, 2017 4:12 PM
To: grugant@ballardspahr.com; Agusti, Fil <FAgusti@steptoe.com>; Work, Tim <twork@steptoe.com>;
Petts, Nick <npetts@Steptoe.com>; Theodore, Jeffrey <jtheodore@steptoe.com>; Sorkin, Joseph L.
<jsorkin@AkinGump.com>; Zensky, David <dzensky@AkinGump.com>; Porter, Katherine
<kporter@akingump.com>; Dailey, Jeffery <JDailey@AKINGUMP.com>; Gardner, Carly
<cgardner@akingump.com>; jnegovan@griesinglaw.com; hockeimerh@ballardspahr.com; Eno, Kelly
<keno@akingump.com>; Sloniewsky, Andrew <ASloniewsky@steptoe.com>; Susan Wiebel
<SWiebel@lynnllp.com>
Cc: Jonathan Kelley <jkelley@lynnllp.com>; Jeremy Fielding <jfielding@lynnllp.com>; Kent Krabill
<kkrabill@lynnllp.com>; Christian Orozco <corozco@lynnllp.com>
Subject: RE: Eddystone v. Bridger et al.; Rios and Gamboa Supplemental Production

Counsel,

Below is a link to Defendants Rios’ and Gamboa’s supplemental production, stamped RG_EDPA0003015 -
RG_EDPA0011220.

LINK:
https://dallaspinnacle.brickftp.com/f/5be463878fe4ed69

CHRISTINA TAYLOR | Paralegal
LynnPinkerCoxHurst

                                                   5
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From: Christina Taylor
Sent: Tuesday, October 24, 2017 3:11 PM
To: grugant@ballardspahr.com; Agusti, Fil <FAgusti@steptoe.com>; Work, Tim <twork@steptoe.com>;
Petts, Nick <npetts@Steptoe.com>; Theodore, Jeffrey <jtheodore@steptoe.com>; Sorkin, Joseph L.
<jsorkin@AkinGump.com>; Zensky, David <dzensky@AkinGump.com>; Porter, Katherine
<kporter@akingump.com>; Dailey, Jeffery <JDailey@AKINGUMP.com>; Gardner, Carly
<cgardner@akingump.com>; jnegovan@griesinglaw.com; hockeimerh@ballardspahr.com; Eno, Kelly
<keno@akingump.com>; Sloniewsky, Andrew <ASloniewsky@steptoe.com>; Susan Wiebel
<SWiebel@lynnllp.com>
Cc: Jonathan Kelley <jkelley@lynnllp.com>; Jeremy Fielding <jfielding@lynnllp.com>; Kent Krabill
<kkrabill@lynnllp.com>; Christian Orozco <corozco@lynnllp.com>
Subject: RE: Eddystone v. Bridger et al.; Rios and Gamboa Supplemental Production

Counsel,

Below is a link to Defendants Rios’ and Gamboa’s supplemental production, stamped RG_EDPA0000298 -
RG_EDPA0003014 and marked “confidential.”

LINK: https://dallaspinnacle.brickftp.com/f/5a30d227e2dab74f


CHRISTINA TAYLOR | Paralegal
LynnPinkerCoxHurst

From: Jonathan Kelley
Sent: Wednesday, October 04, 2017 4:24 PM
To: grugant@ballardspahr.com; Agusti, Fil <FAgusti@steptoe.com>; Work, Tim <twork@steptoe.com>;
Petts, Nick <npetts@Steptoe.com>; Theodore, Jeffrey <jtheodore@steptoe.com>; Sorkin, Joseph L.
<jsorkin@AkinGump.com>; Christina Taylor <ctaylor@lynnllp.com>; Zensky, David
<dzensky@AkinGump.com>; Porter, Katherine <kporter@akingump.com>; Jeremy Fielding
<jfielding@lynnllp.com>; Kent Krabill <kkrabill@lynnllp.com>; Christian Orozco
<corozco@lynnllp.com>; Dailey, Jeffery <JDailey@AKINGUMP.com>; Gardner, Carly
<cgardner@akingump.com>; jnegovan@griesinglaw.com; hockeimerh@ballardspahr.com; Eno, Kelly
<keno@akingump.com>; Sloniewsky, Andrew <ASloniewsky@steptoe.com>; Susan Wiebel
<SWiebel@lynnllp.com>; Christina Taylor <ctaylor@lynnllp.com>
Subject: Eddystone v. Bridger et al.; Rios and Gamboa Supplemental Production of Bank Records

Counsel,

Below is a link to Defendants Rios’ and Gamboa’s supplemental production, stamped
RG_EDPA0000203 - RG_EDPA0000297 and marked as “confidential” and “attorneys’ eyes only”:

Link: https://dallaspinnacle.brickftp.com/f/338f9fb3c87b2e1e

This production contains bank records for both Rios’ and Gamboa’s personal accounts at Business
First Bank, from November 2015 through May 2016. These records have been redacted except for
any incoming or outgoing transactions involving any Ferrellgas, Bridger, or Jamex entity.

Thanks,
Jon


                                                     6
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From: Jonathan Kelley
Sent: Wednesday, August 30, 2017 7:02 PM
To: 'grugant@ballardspahr.com' <grugant@ballardspahr.com>; 'Agusti, Fil' <FAgusti@steptoe.com>;
'Work, Tim' <twork@steptoe.com>; 'Petts, Nick' <npetts@Steptoe.com>; 'Theodore, Jeffrey'
<jtheodore@steptoe.com>; Christina Taylor <ctaylor@lynnllp.com>; 'Zensky, David'
<dzensky@AkinGump.com>; 'Porter, Katherine' <kporter@akingump.com>; Jeremy Fielding
<jfielding@lynnllp.com>; Kent Krabill <kkrabill@lynnllp.com>; 'Dailey, Jeffery'
<JDailey@AKINGUMP.com>; 'Gardner, Carly' <cgardner@akingump.com>;
'jnegovan@griesinglaw.com' <jnegovan@griesinglaw.com>; 'hockeimerh@ballardspahr.com'
<hockeimerh@ballardspahr.com>; 'Eno, Kelly' <keno@akingump.com>; 'Sloniewsky, Andrew'
<ASloniewsky@steptoe.com>; Susan Wiebel <SWiebel@lynnllp.com>
Subject: RE: Eddystone v. Bridger et al.; Rios and Gamboa Production of Insurance Agreements

Counsel,

I have attached a copy of Defendants Julio Rios’ and Jeremy Gamboa’s supplemental production,
stamped RG_EDPA0000202, which contains the indemnification agreement with Ferrellgas
identified in our initial disclosures. I note that this is the only indemnification agreement in
existence, and as such, this completes our production of the insurance documents referenced in the
disclosures.

Thanks,
Jon

_____________________________________________
From: Jonathan Kelley
Sent: Thursday, August 24, 2017 3:59 PM
To: grugant@ballardspahr.com; Agusti, Fil <FAgusti@steptoe.com>; Work, Tim <twork@steptoe.com>;
Petts, Nick <npetts@Steptoe.com>; Theodore, Jeffrey <jtheodore@steptoe.com>; Zensky, David
<dzensky@AkinGump.com>; Porter, Katherine <kporter@akingump.com>; Jeremy Fielding
<jfielding@lynnllp.com>; Kent Krabill <kkrabill@lynnllp.com>; Dailey, Jeffery
<JDailey@AKINGUMP.com>; Gardner, Carly <cgardner@akingump.com>; jnegovan@griesinglaw.com;
hockeimerh@ballardspahr.com; Eno, Kelly <keno@akingump.com>; 'Sloniewsky, Andrew'
<ASloniewsky@steptoe.com>
Subject: Eddystone v. Bridger et al.; Rios and Gamboa Production of Insurance Agreements


Counsel,

Below is a link containing Defendants Julio Rios’ and Jeremy Gamboa’s production of insurance
agreements identified in their initial disclosures, stamped RG_EDPA0000001 -
RG_EDPA0000201. Let me know if you have any trouble downloading the files.

Link: https://dallaspinnacle.brickftp.com/f/244a2d24f8ae165b

JON KELLEY, Attorney
Lynn Pinker Cox & Hurst
2100 Ross Avenue, Suite 2700
Dallas, Texas 75201
lynnllp.com
                                                    7
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Direct 214 981 3823
jkelley@lynnllp.com

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                 EXHIBIT E
    Case 2:17-cv-00495-JD Document 264-1 Filed 11/05/18 Page 41 of 61




                                      October 05, 2018


Via Email: fagusti@steptoe.com
Mr. Filiberto Agusti
STEPTOE & JOHNSON LLP
1330 Connecticut Ave. NW
Washington, DC 20036

       Re:     Eddystone Rail Company, LLC v. Bridger Logistics, LLC et al., Civil
               Action No. 17–cv–00495, in the USDC for the Eastern District of
               Pennsylvania

Counsel:

         Over the last several days, the parties have had an exhaustive back-and-forth regarding
the proper treatment of produced materials which have been flagged as subject to the attorney-
client privilege. We are concerned that there remains disagreement about the treatment of
those materials where there should be none. So there can be no mistake, the documents
identified in our letter dated September 28, 2018 (the “Clawback Letter”) are protected by the
attorney-client privilege and cannot be used in any way. This should be uncontroversial for
several reasons.

        First, and most importantly, disclosure of privileged information in this case cannot
constitute waiver because it is governed by a protective order under Rule 502(d) of the Federal
Rules of Evidence. Rule 502(d) states:

       A federal court may order that the privilege or protection is not waived by
       disclosure connected with the litigation pending before the court--in which
       event the disclosure is also not a waiver in any other federal or state
       proceeding.

         Document 62, filed July 31, 2017, is the parties’ Stipulation Pursuant to Fed. R. Civ.
P. 502(d). The parties specifically contemplated that “voluminous” electronic discovery could
lead to the inadvertent production of privileged information. The parties further contemplated
that the burden of ensuring absolute protection against such disclosure should be ameliorated
by stipulating, among other things, that the production of privileged documents “is not a
waiver of privilege or protection from discovery.” Notably, the parties agreed that their
stipulation would govern “regardless of whether the Producing Party took reasonable
steps to prevent the disclosure or to rectify the error.”
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         Rios and Gamboa are entitled to the protections of the stipulation because they have
complied with their obligations. Firstly, they promptly provided written notice to Eddystone.
Rios and Gamboa discovered the inadvertent disclosure on September 27, 2018 and sent the
Clawback Letter to Eddystone’s counsel the very next day. See Email from Christian Orozco
to Jeffrey Theodore, dated September 28, 2018 at 11:53 am (“Please review the attached letter
clawing back some inadvertently produced documents.”). Secondly, Rios and Gamboa
provided Eddystone with a “basis for the Producing Party’s contention that the information
is privileged or protected.” See Email from Jeremy Fielding to Jeffrey Theodore, dated October
3, 2018 at 8:26 am (“[T]he documents identified in our letter involve communications between
FGP employees and lawyers for FGP in which those lawyers are providing legal advice or
being requested that they provide legal advice. Please confirm pursuant to the federal rules
and our stipulation that you have deleted all copies of the clawed-back documents by our
502(d) stipulation.”).

         Having been duly notified under the stipulation, Eddystone must “return, sequester, or
destroy” the information identified in the Clawback Letter. Eddystone must not use the
information in any way. If Steptoe has disseminated any of that information (e.g., to its client
in the form of a memo), it must retrieve it immediately. In any event, under no circumstances
may Eddystone review any of the information. Should it choose to challenge the privilege
designations, Eddystone may not use the contents of the information in support of any
motion. Indeed, Eddystone must make its application based on nonprivileged information,
like the information included in a privilege log, to challenge and assertions of privilege.

        Second , even if there were no stipulation in place, Rule 502(b) would apply and defeat
any argument of waiver of privilege of the documents identified in the Clawback Letter. Here,
there is no serious question that the inadvertent production of 400 documents among the
millions of pages of documents produced in this case falls squarely within Rule 502(b)’s broad
protections.

         Third , even if there were no stipulation in place, Rule 26(b)(5)(B) of the Federal Rules
of Civil Procedure would apply and require Eddystone to sequester or destroy all information
identified in the Clawback Letter; prohibit use of that information; and retrieve that
information if it was already disseminated.

        Fourth , even if there were no stipulation, the case law in this jurisdiction would
protect the attorney-client privilege in the information identified in the Clawback Letter.
Rhoads Indus., Inc. v. Bldg. Materials Corp. of Am., 254 F.R.D. 216 (E.D. Pa.), is one of many cases
detailing the importance of preserving attorney-client privilege. There, even though four of
the five factors in the Third Circuit’s traditional five-factor balancing test militated in favor of
waiver, the fifth factor – the interest of justice – outweighed the other four combined.
Specifically, that court held that:

        “Loss of the attorney-client privilege in a high-stakes, hard-fought litigation is
        a severe sanction and can lead to serious prejudice. Although I have little
        knowledge of the content of Rhoads’s privileged documents, I assume they
        contain candid assessments of the facts and strategy in this case, as to which
        Rhoads understandably has a high degree of proprietary interest.

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        On the other hand, denying these documents to Defendants is not prejudicial
        to Defendants because, in the first place, they have no right or expectation to
        any of Rhoads’s privileged communications….”

Rhoads Indus., Inc. v. Bldg. Materials Corp. of Am., 254 F.R.D. at 227.

        Fifth , and this should go without saying, but there are ethical and professional rules
governing the review and use of inadvertently produced documents. Among others is, ABA
Rule 4.4(b) and its many jurisdictional equivalents (e.g., DC Rule 4.4(b)). Briefly, information
which is protected, including information subject to the attorney-client privilege, is off limits
once it is identified as protected.

        In sum, we trust that there remains no question that, as to the information identified
in the Clawback Letter, Eddystone will not open, review, or use a single document for any
reason. Accordingly, please provide us with an unequivocal statement that, after receipt of the
Clawback Letter, Eddystone has not opened or reviewed any of the information contained
therein, and that it will not do so unless permitted by the Court.




                                                  Best regards,




                                                  Jeremy Fielding, PLLC




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                 EXHIBIT F
   Case 2:17-cv-00495-JD Document 264-1 Filed 11/05/18 Page 45 of 61




                                      October 08, 2018


Via Email: fagusti@steptoe.com
Mr. Filiberto Agusti
STEPTOE & JOHNSON LLP
1330 Connecticut Ave. NW
Washington, DC 20036

       Re:     Eddystone Rail Company, LLC v. Bridger Logistics, LLC et al., Civil Action No.
               17–cv–00495, in the USDC for the Eastern District of Pennsylvania

Counsel:

         We appreciate your time Friday to discuss important issues related to the proper
treatment of materials we asserted are subject to the attorney-client privilege in our
Clawback Letter from September 28, 2018. It should come as no surprise that we are far
more concerned about the treatment of our materials following the call than we were before
the call. Among our chief concerns were the revelations that Steptoe: (1) identified privileged
information between Ferrellgas Partners (“FGP”) and its counsel from our July 20, 2018
production; (2) acknowledged that we would view that information as Protected Information
as defined in our Stipulation Pursuant to FED. R. CIV. P. 502(d), filed July 31, 2017 (the
“Stipulation”); (3) did not immediately sequester or destroy that information as required by
the Stipulation; (4) did not immediately notify us about the inadvertent disclosure as required
by the Stipulation; and (5) continued to review and identify other privileged information
after it was crystal clear that the information was Protected Information.

        Our goal in this letter is not to litigate matters to which you have already expressed
your strong disagreement. We would, however, like to make an attempt to isolate the factual
information that will inform us of exactly how our information was treated, without prying
into matters that could fairly be characterized as privileged or protected by the work product
doctrine. We believe that the following list of questions might help narrow, and possibly
eliminate our concerns.

       1. Please identify the date on which Steptoe first identified Protected Information
          in our July 20, 2018 production.
       2. Please identify the individual who first determined that Steptoe received
          Protected Information, as well as all individuals who subsequently reviewed
          Protected Information.
       3. Please identify by Bates Label the first document Steptoe determined was
          Protected Information.
       4. Please identify by Bates Label each document containing Protected Information
          that was reviewed by Steptoe.
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       5. Jeffrey Theodore represented today that certain Protected Information was
           “seared into [his] memory,” and he could recite certain Protected Information
           “by heart.” He also stated that, upon reviewing such Protected Information, it
           was “clear to [him] that [we] would claim that it was privileged.” Please identify
           such Protected Information by by Bates Label and state the date on which he
           first reviewed the Protected Information.
       6. Please confirm that Steptoe never disclosed any Protected Information in any
           form, (e.g., written or oral) to anyone, including, but not limited to its client,
           retained or nonretained experts, or fact witnesses.
       7. Please identify all individuals who reviewed Protected Information, stating their
           name, employer, and job title.
       8. Jeffrey Theodore also represented today that Steptoe was preparing a notice
           under the stipulation when it received our Clawback Letter. Please identify the
           date that Steptoe began preparing such notice.
       9. Please confirm that Steptoe immediately stopped review of documents after it
           first determined it received Protected Information,.
       10. Please identify the steps Steptoe has taken to sequester and collect all Protected
           Information, including copies.
       11. Please confirm that Steptoe did not incorporate Protected Information in any
           work product (e.g., memoranda, briefing, analyses, reports, etc.).

        We understand that Steptoe may continue to resist responding to our inquiries about
Protected Information. But without full, frank responses to these factual inquiries, we
cannot imagine how we can avoid significant judicial intervention. Because time is of the
essence in this matter, we need responses by no later than Tuesday, October 9 at 5:00 pm
EST. If we do not receive full responses, we intend to seek relief from the Court for
violations of the Stipulation and reserve the right to seek all other relief up to and including
disqualification.



                                               Best regards,




                                               Jeremy Fielding, PLLC




                                               2
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                EXHIBIT G
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Jeffrey M. Theodore
202 429 8139
jtheodore@steptoe.com

1330 Connecticut Avenue, NW
Washington, DC 20036-1795
202 429 3000 main
www.steptoe.com




                                                        October 9, 2018

Jeremy Fielding
Lynn Pinker Cox & Hurst LLP
2100 Ross Avenue, Suite 2700
Dallas, Texas 75201


Jeremy,

        Thanks for your letter. For the record, we disagree with your various assertions, including
your accusations of unspecified misconduct and your characterization of the so-called
“revelations” from our Friday meet and confer teleconference. The accusations and questions in
your letter are baseless and do not suggest a good faith effort to meet-and-confer regarding these
issues.

        We do not think that there is a single document in your production that is privileged. But
we have sequestered every document from your production that you have asserted to be
privileged (as we stated on the phone, we dispute that the documents are privileged) or that we
think you might believe to be privileged. We have not in any way disclosed or made use of any
such document to prosecute this litigation. We have not shared them with experts, our client, or
anyone else. We have not reviewed them with the knowledge that they were privileged or that
you would think them to be privileged. And we will not use them, except in the context of
motion practice seeking a ruling on the privilege, until we have obtained such a determination.

        That assurance ought to resolve any concerns you may have, especially given that there
does not seem to be any concrete factual basis in your letter to suggest that any of the above is
untrue. In light of that reality, we do not see any justification for the tone and thrust of your letter
or your suggestion that judicial intervention may be necessary. If you do want to resolve this
matter without court intervention, it would be helpful to know what concrete actions we have
taken with respect to documents you have produced that give you pause so that we can respond.
It would also be helpful to know what relief you hope to obtain from the Court so that we can
discuss that as well.

        The bulk of your letter consists of eleven highly invasive questions that have little
relevance to a bona fide attempt to assure compliance with the protective order and seek instead
to interrogate us about the details of our work effort in this litigation. There is really no basis for
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such questioning, and answering them would require us to disclose substantial information about
our work effort on this case in contravention of the work product doctrine. In any event,
submitting a demand for extensive information at noon on a holiday and demanding a response
by 5 PM the next day makes answering your questions impossible. There is simply no way that
we could answer all of your questions to the level of detail you have requested in the timeframe
that you have allotted even apart from the concerns we have described in the preceding
sentences.

        At the outset, your questions are premised on the notion that we have received “Protected
Information,” which is defined in our Rule 502(d) stipulation as “privileged or work-product-
protected documents or information.” You ask when we first identified Protected Information,
who determined that Steptoe received Protected Information, who reviewed Protected
Information, and so on. We do not believe that any of the documents that we have reviewed are
privileged. Thus, the literal answer to all of these questions is “none.”

        To get to the core of what you are asking, however, nobody outside the Steptoe litigation
team has received any information that you claim to be privileged or that we think that you might
claim to be privileged. At Steptoe, we have sequestered all of the documents that you have
sought to claw back or that we think you might claim to be privileged. And we have not made
any use of them other than as part of taking steps to obtain a determination of the privilege from
the Court. In terms of steps to sequester the documents, we have removed the files from our
document management software and looked for offline copies of the documents you have sought
to claw back. If we come across any, we will remove them.

        While we have honored your clawback requests, you have failed to comply with the
requirement that you supply “a statement of the basis for the Producing Party's contention that
the information is privileged or protected.” Dkt. 62 at 2. Your clawback letter provides only a list
of bates numbers, and you have yet to list the clawed back documents at issue on a privilege log.
In response to our request for a detailed explanation of your contention that each clawed back
document is privileged, you have responded only with the blanket assertion that “the documents
identified in our letter involve communications between FGP employees and lawyers for FGP in
which those lawyers are providing legal advice or being requested that they provide legal
advice.” Of course, that generic statement is not sufficient to support a claim of privilege.
Accordingly, you have provided no basis whatsoever for any claim that any of the material that
you have produced consists of “Protected Information.” It is essential that you supply an
adequate privilege log so that we and the Court can evaluate your claims of privilege.
Nonetheless, we have removed the clawed back material from our systems.

        Finally, we question the timing of your letter, your demand for an extensive and near
immediate response, and your threats of “significant judicial intervention.” This does not appear
to be a good faith attempt to resolve the issues that you claim to be concerned about. After taking
more than seventy-two hours to draft a two-page letter, you have emailed us on a holiday and
demanded a response within twenty-nine hours. You also demand that, within this time period,
we collect and supply you with extensive and detailed information, including attorney work
product. Meanwhile, you have not specified any relief that you request other than a vague
reference to “disqualification.” And you have not provided supplied us with an updated privilege
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log that sets out the detailed basis for your assertion of privilege that the Rules and the protective
order require even though you served your clawback request almost two weeks ago.

        We are more than happy to discuss the matters raised in your letter, including any
specific relief that might resolve your concerns or any specific actions of ours that you think
problematic. Please let us know if you would like to attempt to resolve your concerns in good
faith.



                                                       Sincerely,


                                                       Jeffrey M. Theodore



cc: all counsel
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October 8, 2018

Jacob A. Kramer
Direct: 202/508-6153
Fax: 202/220-7453
jake.kramer@bclplaw.com



Jeffrey M. Theodore
Steptoe
1330 Connecticut Avenue, NW
Washington, DC 20036

VIA E-MAIL

Re:     Inadvertently Produced Privileged Documents

Dear Jeff:

We write to address Steptoe & Johnson’s (“Steptoe”) handling of inadvertently produced
privileged documents, which were the subject of a clawback notice from Lynn Pinker Cox
& Hurst (“Lynn Pinker”) dated September 28, 2018 (the “LP Letter”), as well as
subsequent letters from Lynn Pinker dated October 5 and 8, 2018 and a meet-and-confer
call in which we participated on October 5. Our clients hold the privilege related to such
materials, and the purpose of this letter is to address next steps. In particular, we would
appreciate a proposal from Steptoe outlining how it plans to continue to serve as counsel in
this matter under the circumstances.

I.      RELEVANT BACKGROUND

On September 21, 2018, we sent a letter advising you that we had inadvertently produced
some privileged documents (the “BCLP Letter”). In accordance with Fed. R. Evid. 502(d)
and the related stipulation and Order entered in this case, we asked that you “promptly
return, sequester, or destroy” any and all copies of such documents.

One week later, on September 28, 2018, counsel for our co-defendants, Julio Rios and
Jeremy Gamboa, sent you the LP Letter, notifying you that other materials subject to the
attorney-client privilege had been inadvertently produced (together with the documents
identified in the BCLP Clawback Letter, the “Protected Information”). Again, the letter
notified you that Steptoe was required to “promptly return, sequester, or destroy all” copies
of the Protected Information.
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That same day, you responded to the BCLP Letter, and you questioned whether various
documents were privileged, asserting reasons that you believed a subset of such documents
were not privileged. The level of detail in your email strongly suggested that Steptoe had
continued to review and analyze the documents listed in the BCLP letter after receiving our
clawback notice. We responded the following Monday, October 1, 2018, and asked for
confirmation that Steptoe adhered to its obligation to “promptly return, sequester, or
destroy inadvertently produced privileged documents.”

After receiving no response, we emailed you again the next day, October 2, and again asked
you to confirm that the Protected Information had been removed from Steptoe’s systems
without further review. You responded on October 3, but you did not admit or deny
whether Steptoe had continued to review the Protected Information after receiving our
letter; instead, you stated that “we are working to sequester the documents in a prompt
manner, and we have no intention of using the material while this remains an issue.”

We responded that same day, October 3, and reiterated that we wanted “confirmation that
you and your team did not go review these inadvertently produced privileged documents
after receiving our clawback notice,” and we asked that you please “provide a direct answer
to that question.” Also on October 3, counsel for defendants Rios and Gamboa emailed
you and likewise asked that you “confirm pursuant to the federal rules and [the parties’]
stipulation that you have deleted all copies of the” Protected Information.” You responded
to our email on October 4, and you again refused to state whether Steptoe had continued to
review the Protected Information after receiving our clawback notice, on the ground that
Steptoe was “not going to provide [us] with details of [Steptoe’s] work effort on this case.”

On October 5, 2018, Lynn Pinker sent you another letter explaining that Steptoe was
required to immediately cease any and all review of the Protected Information as soon as it
had received a clawback notice. Counsel again asked for “an unequivocal statement that,
after receipt of the Clawback Letter, Eddystone ha[d] not opened or reviewed any of the
information contained therein.”

Counsel for the parties also held a meet and confer telephone conference on Friday,
October 5, 2018. During that call, you provided us with answers to some of our questions:

    • You stated that you reviewed an email chain containing Protected Information, the
      contents were “seared into [your] memory,” and you could likely “recite [the
      contents] by heart;”
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Jeffrey M. Theodore
October 8, 2018
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      • You admitted that, when you first reviewed an email containing Protected
        Information, it was “clear to [you] that [Defendants] would claim that [the material]
        was privileged;”
      • You stated that Steptoe was preparing to notify us that Protected Information had
        been produced, but you refused to state when Steptoe first reviewed any of the
        Protected Information, stating only that it was “recently;”
      • During the call, you refused to say whether Steptoe had continued to review any of
        the Protected Information following receipt of the Defendants’ clawback notices;
      • We explained on the call that we would assume from your refusal to answer such
        questions that Steptoe had, in fact, continued to review the Protected Information
        following receipt of Defendants’ clawback notices, and you did not tell us on the call,
        or at any time since, that our assumption is wrong; and
      • You stated that Steptoe intends to submit documents containing Protected
        Information that you have already reviewed to the Court for in camera review.

After you stated on the call that Steptoe had “done nothing wrong,” we asked if you had
reviewed the governing authorities and applicable rules of professional conduct, and you
then asked us to provide you with such authorities. We respond to this request below.

II.      GOVERNING AUTHORITIES AND RULES

The “Rules of Professional Conduct adopted by the Supreme Court of Pennsylvania
provide the standards for professional conduct that attorneys appearing before this Court
must comply with.” J & J Snack Foods Corp. v. Kaffrissen, 2000 WL 562736, at *2 (E.D. Pa.
May 9, 2000) (Kelly, J.). Under the Pennsylvania Rules, a lawyer who receives a document
relating to the legal representation of a client, and who knows or reasonably should know
that it was inadvertently sent, must promptly notify the sender in order to permit the sender
to take protective measures. Pa. R. P. C. 4.4(b) & cmt. 2; see also Alers v. City of Philadelphia,
Civil Action No. 08–4745, 2011 WL 60000602, *1 (E.D. Pa. Nov. 29, 2011). While Rule
4.4(b) does not expressly require the receiving lawyer to also return or destroy any such
document, the receiving lawyer is obligated to do so under the Federal Rules of Civil
Procedure, the Federal Rules of Evidence, and, in this case, the Rule 502(d) stipulation and
Order. See Pa. R. P. C. 4.4(b) & cmt. 2 (recognizing that even though Rule 4.4(b) does not
expressly impose a return or destroy requirement, other sources of law may require it).

Under Fed. R. Civ. P. 26(b)(5)(B), after being notified that an opposing party has
inadvertently produced information subject to a claim of privilege, “a party must promptly
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Jeffrey M. Theodore
October 8, 2018
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return, sequester, or destroy the specified information and any copies it has,” and it “must
not use or disclose the information until the claim is resolved.” (emphasis added).

Fed. R. Evid. 502(b) makes clear that inadvertent disclosure “does not operate as a waiver”
so long as the privilege holder took reasonable steps to prevent disclosure and to promptly
rectify the error. (emphasis added). In any event, the privilege held by our clients cannot be
waived by our co-defendants. See In re Teleglobe Commc’ns Corp., 493 F.3d 345, 364 (3d Cir. 2007).

Moreover, the parties entered into a stipulation, endorsed by the Court (Dkt. 62),
recognizing the importance of these rules in a case like this, where both sides would be
producing (and have produced) a massive number of electronic documents. Specifically, the
parties agreed that any party receiving a document that the receiving party “believes the
Producing Party may deem to be” privileged must “promptly provide written notice to the
Producing Party,” and upon “giving notice . . . must promptly return, sequester, or destroy”
the specified information. (Id. at 2.) Likewise, where a producing party discovers that it has
produced privileged information, it must promptly provide notice to the receiving party,
and the “recei[pt]” of such notice triggers the receiving party’s obligation to “promptly
return, sequester, or destroy the specified” material. (Id.)

To ensure compliance with the rules of professional conduct, the Court has the “power to
disqualify an attorney.” J & J Snack Foods, 2000 WL 562736, at *2; see also De La Cruz v.
Virgin Islands Water and Power Authority, 597 Fed. App’x 83, 87 (3d Cir. 2014); United States v.
Miller, 624 F.2d 1198, 1201 (3d Cir. 1980)); IBM v. Levin, 579 F.2d 271, 283 (3d Cir. 1978)).

Both the Eastern District of Pennsylvania and the Third Circuit have recognized that
counsel should be disqualified after obtaining the confidential information of a litigation
adversary in violation of rules of professional conduct. See, e.g., De La Cruz, 597 Fed. App’x
at 88; J & J Snack Foods, 2000 WL 562736, at * 4. Where there is risk that the implicated
attorney “has shared confidential information with a partner who has appeared in the case,”
the disqualification will “ordinarily” apply to “all of the partners of the implicated attorney.”
Miller, 624 F.2d at 1203.

III.     NEXT STEPS

Here, it is clear that Steptoe received Protected Information, reviewed it, and did not
promptly notify us. It also appears that Steptoe continued to review Protected Information
after recognizing it as such, perhaps even after receiving the BCLP Letter. It further
appears that, after reviewing Protected Information identified in the LP Letter and analyzing
its significance in this case, Steptoe intends to submit such documents for in camera review.
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Jeffrey M. Theodore
October 8, 2018
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If you continue on this course, we see no alternative to disqualification. Indeed, your firm
would be using Protected Information to make tactical and strategic choices about how to
litigate this case, in violation of the rules cited above.

Because we do not relish the prospect of making such a motion, however, we invite Steptoe
to tell us how it intends to proceed. If there is a path forward here, Steptoe must at a
minimum (1) confirm that it promptly “return[ed], sequester[ed], or destroy[ed]” all
Protected Information after receiving the BCLP Letter and the LP Letter, (2) find some way
to provide us with adequate assurances that our clients’ Protected Information will not be
used for any purpose in this litigation, and (3) refrain from submitting any documents that
might contain Privileged Information that Steptoe has already reviewed to the Court for in
camera review.

                                           ***

We appreciate your prompt attention to this urgent matter.

Sincerely,




Jacob A. Kramer
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                 EXHIBIT I
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Jeffrey M. Theodore
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                                                     October 12, 2018

Jacob A. Kramer
Bryan Cave Leighton Paisner LLP
1155 F Street NW,
Washington, DC 20004-1357

Jake,

        Thanks for your letter and email and for attempting to resolve your concerns about
privilege issues in a productive, cooperative manner. While we disagree with your suggestion
that disqualification is even plausibly at issue here, we look forward to working with you to
satisfy you that there is nothing for you to be concerned about.

         We have sequestered all of the documents identified in each of the three clawback letters
that we have received from you and will not use any of that information to prosecute this
litigation unless we obtain a determination from the Court that it is not privileged. We do not
agree that we must refrain from submitting any documents that might contain privileged
information for in camera review. The Parties’ 502(d) stipulation expressly permits us to do so
for documents that we identify may be privileged and for documents that you have clawed back.
Nonetheless, in an attempt to assuage your concerns, at least for now, we will not submit such
documents without first obtaining permission from the Court.

        You sent your first clawback letter on September 21. That letter identified more than a
hundred documents solely by bates number, with no explanation of the subject matter of the
document or the basis for the claim of privilege. That was not consistent with our Rule 502(d)
stipulation, which requires that any clawback notice “include a statement of the basis for the
Producing Party’s contention that the information is privileged or protected.” Our Rule 502(d)
stipulation permits us, upon receiving an effective clawback notice, to “choose[] to contest the
claim” of privilege and “present the Protected Information to the Court under seal for a
determination.” In order to do that, and given your failure to provide any description of the
documents at issue or of the basis for your claim of privilege, it was appropriate to look at the
documents at issue and attempt to meet-and-confer regarding your overbroad privilege
assertions. Particularly given your failure to provide any description of the documents or basis
for claiming privilege, there was no way for us to preserve our express rights under the
stipulation to “choose” whether to “contest the claim” of privilege other than to review the
documents.
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       We have made no attempt to use the documents for any purpose other than “choos[ing]”
whether “to contest” your claim pursuant to the Parties’ stipulation, and in fact we think that the
documents are irrelevant. We do not plan to use them in this litigation, notwithstanding that you
have not substantiated any grounds on which to claim that they are privileged.

        As to the Rios/Gamboa clawback letter of September 28, we had identified the
Rios/Soiefer/Hampton chain prior to the letter as something that you likely would claim to be
privileged and were planning to raise it with you promptly along with any other documents we
might find in our review of your productions. We did not attempt to make any use of it to
prosecute this litigation. Submitting it to the Court for an in camera determination as expressly
contemplated by our Rule 502(d) stipulation would be entirely appropriate behavior.

        Finally, as to your most recent clawback letter, we have sequestered the original
documents, uploaded your redacted versions, and plan to use those for any further litigation
purpose to which they may prove relevant. Again, this is completely in keeping with our
stipulation and the Rules.

        None of the case law you cite in your letter suggests that there has been any misconduct
here, much less anything that merits disqualification. Only one of your cases, Alers v. City of
Philadelphia, Civil Action No. 08–4745, 2011 WL 6000602 (E.D. Pa. Nov. 29, 2011), involved
a lawyer’s review of the other side’s privileged documents during litigation. In that case, a
lawyer attempted to use a facially privileged document at a deposition. After the privilege issue
was joined, the court ruled that there had been no waiver of the privilege and that there could be
no further use of the document. The court did not make any finding of misconduct, much less
require disqualification. Given that we have not attempted to use any of your supposedly
privileged documents other than to seek a determination of the privilege, much less introduce
them at a deposition, Alers strongly contradicts your assertion that there has been misconduct
here or that disqualification is an appropriate remedy.1

        Your remaining cases have nothing to do with the handling of inadvertent productions of
privileged documents. Each relates to conflicts of interest arising out of a prior representation.
Conflicts of interest of that sort raise very different issues than reviewing an inadvertent
production, including an attorney’s duty of loyalty to his or her client. While access to
confidential information is relevant to that analysis, a lawyer’s deep knowledge of his opposing
party’s confidential information arising out of a prior representation is not comparable to the
review of a stray, inadvertently produced document. Not one of your cases makes that
connection, and you have provided no support for your suggestion that disqualification is
appropriate in this context.


       1
         The discussion of waiver via inadvertent production in Alers and in your letter is not
germane to any issue between the Parties. We have never claimed that you waived the privilege
via inadvertent production. Our challenges to your privilege assertions are based on the crime-
fraud exception and your failure to provide descriptions sufficient to justify invocation of the
privilege in you privilege log and your clawback letters.
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        On this point, it is important to correct a misstatement on page three of your letter. We
did not ask you to share “the governing authorities and the applicable rule of professional
conduct.” We asked you to provide authority for the proposition that our conduct was wrongful
and that, if so, disqualification is an appropriate remedy. Your letter does not do so.2

       You conclude your letter by making three requests of us. As to the first, we can confirm
that we have sequestered all of the documents identified in the three clawback letters that we
have received. As to the second, we can assure you that we will not use any of the information at
issue unless the Court determines that it is not privileged. Under the law, this should resolve
your concerns about your allegedly privileged documents.

        Your third request is that we “refrain from submitting any documents that might contain
Privileged Information that Steptoe has already reviewed to the Court for in camera review.”
The Parties’ stipulation expressly entitles us to seek a determination of privilege from the Court
by “present[ing] the Protected Information to the Court under seal for a determination of the
claim.” On our call, we asked you for any authority you might have that we were not permitted
to submit the supposedly privileged documents to the Court or provide a description of what they
knew about them. While we did not see any in your letter, your follow-up email cites United
States v. Zolin, 491 U.S. 554 (1979), on this point as well as lower court authority for the
proposition that the Court should make a threshold finding before review the emails at issue. We
disagree with your reading of those cases: that the Court must make a threshold finding before
looking at the email does not mean that we are not permitted to submit in under seal along with
our request for such a determination. If there is some authority that we may not even submit such
documents, please let us know, and we will consider. But absent that, we do not think that there
is any impropriety in seeking a decision on the privilege status of documents in this litigation
pursuant to the Parties’ stipulation.

       Contrary your email’s suggestion that we may not reference the contents of the
documents in our motion, Zolin expressly permitted the party challenging the privilege to offer
portions of the material at issue “in the pursuit of in camera review” itself. At issue in Zolin
were tapes that the defendant claimed were privileged. In moving for in camera review, the
prosecution submitted a declaration to the trial court that “offered a description of the tapes’
       2
          We will not correct your characterization of the parties’ email correspondence as that
can speak for itself. However, several of your other statements about our meet-and-confer call of
last Friday require correction. I cannot recite the entire Rios/Soiefer/Hampton chain verbatim,
but I remember its overall content and remember several words or phrases from it. It was clear
to me after reading it that you would claim it as privileged but that you had no basis to do so in
light of the crime-fraud exception. We disagree that there is any Protected Information, which
was an important and explicit premise of our statements on the call, an important distinction that
your summary elides in mischaracterizing our statements. When you stated on the call that you
were going to make “assumptions” about things, we told you that you could assume what you
like but also told you that did not mean that your assumption was correct. Your suggestion that
we somehow endorsed your “assumptions” is the opposite of the truth. More generally, we take
issue with your gambit of stating “assumptions” and then requiring us to agree or disagree with
them, and you should not draw any inferences regarding our decision not to respond.
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contents” and “partial transcripts of the tapes.” Zolin 491 U.S. at 559. The Supreme Court held
that it was entirely proper to submit the excerpts to the trial court for consideration in deciding
the crime-fraud issue and in pursuit of in camera review. “There can be little doubt that partial
transcripts, or other evidence directly but incompletely reflecting the content of the contested
communications, generally will be strong evidence of the subject matter of the communications
themselves.” Id. at 573. The Supreme Court went on to conclude that evidence like partial
transcripts “may be used not only in the pursuit of in camera review, but also may provide the
evidentiary basis for the ultimate showing that the crime-fraud exception applies.” Id. at n.12.

        Nonetheless, in an attempt to pursue this matter in the most amicable way possible, we
will agree, at least for now, to make our request and then await the Court’s instructions before
submitting the documents at issue. We hope that this letter resolves your concerns, and we look
forward to addressing our disputes over privilege on the merits.


                                                      Sincerely,


                                                      Jeffrey M. Theodore


cc: all counsel of record
